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                                                                                 CLAYTON COUNTY, GA
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                                                     EXHIBIT "A"                 Jacquline D. Wills
                                                                                 CLERK SUPERIOR COURT

                                 IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                               STATE OF GEORGIA


            SUNRISE BUILDERS,INC.,

                   Plaintiff/Petitioner,

            V.                                                    CIVIL ACTION
                                                                             2021CV00165-10
                                                                  FILE NO.
            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP; and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities,

                   Defendants,

            and


            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS, KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLO WAY,in their individual
            and official capacities.

                   Respondents.




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              PETITION FOR WRIT OF CERTIORARI,APPEAL,AND VERIFIED COMPLAINT

                    COMES NOW,Petitioner and Plaintiff Sunrise Builders, Inc., who files this Petition for

             Writ ofCertiorari, Appeal, and Verified Complaint. In support thereof. Petitioner shows the Court

            as follows:


                                                             1.


                    This Action arises out of a Final Decision by the Clayton County Board of Commissioners

            denying Petitioner's request for approval of its Preliminary Plat Application (LS-2008-0014).

                                       PARTIES. JURISDICTION. AND VENUE


                                                             2.


                    Petitioner incorporates all paragraphs contained above as if the same were reprinted

             verbatim here.


                                                             3.


                    Petitioner and Plaintiff Sunrise Builders, Inc. is a Georgia corporation with the capacity to

            sue and be sued.


                                                             4.


                    Defendant and Respondent Clayton County, Georgia, (the "County") is a political

            subdivision of the State of Georgia and is subject to the jurisdiction of this Court. Venue is also

             proper with respect to Defendant and Respondent Clayton County, Georgia. Service may be

             perfected on this Defendant and Respondent by serving Jeffrey E. Turner, Chairman ofthe Clayton

             County Board of Commissioners, at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

            otherwise provided by law.




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                                                           5.


                    Defendant and Respondent Clayton County Board of Commissioners is the governing

            authority of Clayton, County, Georgia. Venue is also proper with respect to Defendant and

            Respondent Clayton County Board of Commissioners. Service may be perfected on this Defendant

            and Respondent by serving Jeffrey E. Turner, Chairman of the Clayton County Board of

            Commissioners,at 112 Smith Street, Annex 1,Jonesboro, Georgia 30236,or as otherwise provided

            by law.

                                                           6.


                    Defendant and Respondent Jeffrey E. Turner is the Chairman ofthe Clayton County Board

            of Commissioners. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction

            of this Court. Venue is also proper with respect to Defendant and Respondent Jeffrey E. Turner.

            Further, he is sued in his individual and official capacities. Service may be perfected on this

            Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

            otherwise provided by law.

                                                           7.


                    Defendant and Respondent Sonna Singleton Gregory is a member of the Clayton County

            Board of Commissioners. She is a resident of Clayton County, Georgia, and is subject to the

            jurisdiction of this Court. Venue is also proper with respect to Defendant and Respondent Sonna

            Singleton Gregory. Further, she is sued in her individual and official capacities. Service may be

            perfected on this Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia

            30236, or as otherwise provided by law.

                                                           8.


                    Defendant and Respondent Gail Hambrick is a member of the Clayton County Board of



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            Commissioners. She is a resident of Clayton County, Georgia, and is subject to the Jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent Gail Hambrick. Further,

            she is sued in her individual and official capacities. Service may be perfected on this Defendant

            and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236,or as otherwise provided

             by law.

                                                            9.


                    Defendant and Respondent Felicia Franklin is a member of the Clayton County Board of

            Commissioners. She is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent Felicia Franklin.

            Further, she is sued in her individual and official capacities. Service may be perfected on this

            Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

            otherwise provided by law.

                                                            10.


                    Defendant and Respondent DeMont Davis is a member of the Clayton County Board of

            Commissioners. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent DeMont Davis. Further,

            he is sued in his individual and official capacities. Service may be perfected on this Defendant and

            Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236,or as otherwise provided by

            law.


                                                            11.


                    Defendant and Respondent Clayton County Zoning Advisory Group is an entity created by

            the Clayton County Code of Ordinances consisting of seven (7) members who are appointed and

            confirmed by the Board of Commissioners. Venue is also proper with respect to Defendant and



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            Respondent Clayton County Zoning Advisory Group. Service may be perfected on this Defendant

            and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236,or as otherwise provided

            by law.

                                                            12.


                   Defendant and Respondent Herman Turner is a member of the Clayton County Zoning

            Advisory Group. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent Herman Turner.

            Further, he is sued in his individual and official capacities. Service may be perfected on this

            Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

            otherwise provided by law.

                                                            13.


                   Defendant and Respondent Addie Whittaker is a member of the Clayton County Zoning

            Advisory Group. She is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent Addie Whittaker.

            Further, she is sued in her individual and official capacities. Service may be perfected on this

            Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

            otherwise provided by law.

                                                            14.


                   Defendant and Respondent Kevin Lewis is a member of the Clayton County Zoning

            Advisory Group. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent Kevin Lewis. Further,

            he is sued in his individual and official capacities. Service may be perfected on this Defendant and

            Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as otherwise provided by



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             law.


                                                             15.


                    Defendant and Respondent Keith Parker is a member of the Clayton County Zoning

             Advisory Group. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

             this Court. Venue is also proper with respect to Defendant and Respondent Keith Parker. Further,

             he is sued in his individual and official capacities. Service may be perfected on this Defendant and

             Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as otherwise provided by

             law.


                                                             16.


                    Defendant and Respondent Arnold Goodson is a member of the Clayton County Zoning

             Advisory Group. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

             this Court. Venue is also proper with respect to Defendant and Respondent Arnold Goodson.

             Further, he is sued in his individual and official capacities. Service may be perfected on this

             Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

             otherwise provided by law.

                                                             17.


                    Defendant and Respondent Hershel Trawick is a member of the Clayton County Zoning

             Advisory Group. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

             this Court. Venue is also proper with respect to Defendant and Respondent Hershel Trawick.

             Further, he is sued in his individual and official capacities. Service may be perfected on this

             Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

             otherwise provided by law.




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                                                           18.


                   Defendant and Respondent Carlton Holloway is a member of the Clayton County Zoning

            Advisory Group. He is a resident of Clayton County, Georgia, and is subject to the jurisdiction of

            this Court. Venue is also proper with respect to Defendant and Respondent Carlton Holloway.

            Further, he is sued in his individual and official capacities. Service may be perfected on this

            Defendant and Respondent at 112 Smith Street, Annex 1, Jonesboro, Georgia 30236, or as

            otherwise provided by law.

                                                           19.


                   Jurisdiction and venue are otherwise proper before this Court.

                                      FACTS APPLICABLE TO ALL COUNTS


                                                           20.


                   Petitioner incorporates all paragraphs contained above as if the same were reprinted

            verbatim here.


                                                           21.


                   Sunrise Builders, Inc. owns certain real property located in Clayton County. This property

            (the "Subject Property") is approximately 14.9 +/- acres combined, further known as tax parcel

            identification numbers 12247C A005 and 1234A BOOl, according to the records of the Clayton

            County Tax Assessor.

                                                           22.


                   The Subject Property is currently zoned as Planned Unit Development("PUD").

                                                           23.


                   On June 24, 2020, Mahmoud Amercani, who is the CEO of Sunrise Builders, Inc. and

            Egyptian-American, on behalf of Sunrise Builders, Inc., submitted a Preliminary Plat Application



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            (the "Application") to the Clayton County Community Development Department. A copy of the

             Application is attached hereto and incorporated herein as Exhibit "A."

                                                             24.


                    Said Application sought to subdivide the Subject Property, which is included in the Master

             Plan for the Planned Unit Development known as the Village of Ellenwood Subdivision, for a

             proposed forty-two (42) lot single-family subdivision, which would be called the Villages of

             Ellenwood - Village Creek.

                                                             25.


                    Based on the Subject Property's inclusion in the Master Plan, Petitioner had a vested right

             in having its Preliminary Plat Application considered and approved by Clayton County based on

             the prior approval of the Planned Unit Development.

                                                             26.


                    In accordance with the Clayton County Code of Ordinances Section 86-122, the

             Application then proceeded to the County's Technical Review Committee wherein said Committee

             determines whether the Application would require significant alterations to be made to the layout

             of streets, lots, utility systems, topography, or other proposed subdivision features. A copy of the

             certified record denoting the Code of Ordinances is attached hereto and incorporated herein as

             Exhibit "B."


                                                             27.


                    Because the Application did not require such alterations, it then proceeded to the County's

             Zoning Advisory Group. See Clayton County Code of Ordinances Section 86-122.

                                                             28.


                    When the Application at issue proceeded to the Zoning Advisory Group, it was



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            recommended for denial based on subjective criteria rather than the objective criteria contained in

            Clayton County Code of Ordinances Section 86-122(f)(1-4).

                                                           29.


                   By simply making a recommendation, the Zoning Advisory Group violated the procedure

            contained in the Clayton County Code of Ordinances.

                                                           30.


                    Section 86-122 of the Clayton County Code of Ordinances provides that, at a public

            hearing, "the zoning advisory group shall approve, approve with conditions, table, or deny the

            application for preliminary plat approval." Said Code Section further provides that the "zoning

            advisory group shall make written findings documenting its decision."

                                                           31.


                    Contravening the process outlined in the Clayton County Code of Ordinances, the

            Application then went before the Clayton County Board of Commissioners on December 15,2020,

             wherein the Clayton County Board of Commissioners voted to deny it. A copy ofthe minutes from

            the December 15, 2020 Board of Commissioners hearing is attached hereto and incorporated

            herein as Exhibit "C."


                                                           32.


                    In support of its Application, Petitioner submitted a Constitutional Rights Letter to the

            Board of Commissioners, which explained why the Preliminary Plat Application should be

            approved based on the objective criteria contained in the Clayton County Code of Ordinances. The

            Letter also preserved the ability to challenge any subsequent decision made with respect to the

            Application. A copy of the Letter is attached hereto and incorporated herein as Exhibit "D."




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                               COUNT ONE - PETITION FOR WRIT OF CERTIORARI


                                                            33.


                    Petitioner incorporates all paragraphs contained above as if the same were reprinted

             verbatim here.


                                                            34.


                    Petitioner seeks a Writ of Certiorari from this Court pursuant to O.C.G.A. § 5-4-1(a).

                                                            35.


                    Pursuant to the Clayton County Code of Ordinances, Section 86-122,the Zoning Advisory

             Group should have held a public hearing and made a final decision to approve, approve with

             conditions, table, or deny Petitioner's Preliminary Plat Application. Said decision is mandated by

             ordinance to have written findings documenting the Zoning Advisory Group's decision.

                                                            36.


                    Instead, the Zoning Advisory Group simply recommended denial to the Board of

             Commissioners, who made the final decision with respect to Petitioner's Preliminary Plat

             Application.

                                                            37.


                    The Board of Commissioners acted in a quasi-judicial, administrative capacity in

             considering and denying the Preliminary Plat Application. S^ Diversified Holdings. LLP v. Citv

             ofSuwanee. 302 Ga. 597(2017).

                                                            38.


                    The Board of Commissioners' decision to deny the Preliminary Plat Application was

             immediate in application, specific in effect, and involved an individualized assessment of the

             Subject Property. Accordingly, review by writ of certiorari is the appropriate remedy.



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                                                            39.


                     Under the Clayton County Code of Ordinances Section 86-122, it was error for the Board

            of Commissioners to make a final decision with respect to Petitioner's Preliminary Plat

            Application. Said decision should have been made in writing by the Zoning Advisory Group.

                                                            40.


                     The Board of Commissioners made no findings of fact related to the basis upon which the

            Preliminary Plat Application was denied. Further, the Board of Commissioners made no

            conclusions oflaw regarding the basis upon which the Preliminary Plat Application was denied.

                                                            41.


                     The Board of Commissioners did not properly analyze or evaluate the Preliminary Plat

            Application pursuant to the Clayton County Code of Ordinances or Georgia law.

                                                            42.


                     Petitioner shows that a proper, evenhanded analysis of the objective standards set forth in

            the Clayton County Code of Ordinances required the Board of Commissioners to approve instead

            of deny the Preliminary Plat Application.

                                                            43.


                     As further basis for reversing the erroneous Final Decision made by the Board of

            Commissioners to deny the Preliminary Plat Application, Petitioner incorporates by reference all

            arguments made in support of the Preliminary Plat Application presented in writing or orally to

            the Board of Commissioners, the Technical Review Committee, the Zoning Advisory Group, or

            Staff.


                                                            44.


                     Petitioner is entitled to a Writ of Certiorari and reversal of the Board of Commissioners'




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             denial of the Preliminary Plat Application because the Board of Commissioners' decision was

             erroneous, arbitrary, and capricious.

                                                             45.


                    The Board of Commissioners' decision also violated Petitioner's right to procedural and

             substantive due process and equal protection of the laws guaranteed by Article I, Section I,

             Paragraph I, and Article I, Section I, Paragraph II, of the Constitution of the State of Georgia and

             the Fourteenth Amendment to the United States Constitution as incorporated against the States.

                                                             46.


                    The Board of Commissioners' decision lacked objective justification.

                                                             47.


                    The Board ofCommissioners' decision also constituted a taking ofthe Petitioner's property

             without just and adequate compensation in violation of Article I, Section III, Paragraph I of the

             Constitution ofthe State of Georgia and the Fifth Amendment to the United States Constitution as

             incorporated against the States.

                                                             48.


                    As a result of the foregoing. Petition is entitled to, and requests the issuance of, a Writ of

             Certiorari directed to the Board of Commissioners and a reversal of the Board of Commissioners'


             Final Decision with respect to the Preliminary Plat Application.

                              COUNT TWO - APPEAL AND DECLARATORY JUDGMENT


                                                             49.


                    Petitioner incorporates all paragraphs contained above as if the same were reprinted

             verbatim here.




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                                                            50.


                   Petitioner appeals the decision made by the Board of Commissioners de novo.

                                                            51.


                   Petitioner has presented an actual case and controversy among the Parties, which is

            appropriate for resolution by declaratory judgment as provided in the Declaratory Judgments Act,

            O.C.G.A. § 9-4-1 etseq.

                                                            52.


                   The Final Decision made by the Board of Commissioners to deny the Preliminary Plat

            Application constituted a regulatory taking.

                                                            53.


                   Petitioner is entitled to a declaration that the denial of the Preliminary Plat Application is

            unconstitutional because it bears no substantial relation to the health, moral, safety, or general

            welfare of the public.

                                                            54.


                    Without this Court's intervention, Petitioner will suffer a significant deprivation of

            property rights that amounts to an uncompensated taking.

                                                             55.


                   The Final Decision made by the Board of Commissioners to deny the Preliminary Plat

            Application arbitrarily impacts the citizens of Clayton County and the decision cannot be justified

            under a rational basis or intermediate level of constitutional scrutiny.

                                                             56.


                   The Final Decision made by the Board of Commissioners to deny the Preliminary Plat

            Application disproportionately impacts certain racial minorities in an arbitrary manner that cannot



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            be justified under a rational basis or intermediate level of constitutional scrutiny.

                                                             57.


                   For these reasons, Petitioner is entitled to a declaration that the Final Decision made by the

            Board of Commissioner's to deny the Preliminary Plat Application was arbitrary and capricious,

            violated Petitioner's rights to procedural and substantive due process and equal protection of the

            laws as guaranteed by Article I, Section I, Paragraph I and Article I, Section I, Paragraph II of the

            Constitution of the State of Georgia and the Fourteenth Amendment to the United States

            Constitution, as incorporated against the states, and constituted a taking without just and adequate

            compensation of Petitioner's property in violation of Article I, Section III, Paragraph I, of the

            Constitution ofthe State of Georgia and the Fifth Amendment to the United States Constitution as

            incorporated against the States.

                                            COUNT THREE - MANDAMUS


                                                             58.


                   Petitioner incorporates all paragraphs contained above as if the same were reprinted

            verbatim here.


                                                             59.


                    Under O.C.G.A. § 9-6-20:

                    All official duties should be faithfully performed, and whenever,from any cause, a
                    defect of legal justice would ensue from a failure to perform or from improper
                    performance,the writ of mandamus may issue to compel a due performance ifthere
                    is no other specific legal remedy for the legal rights; provided, however, that no
                    writ of mandamus to compel the removal of ajudge shall issue where no motion to
                   recuse has been filed, if such motion is available, or where a motion to recuse has
                   been denied after assignment to a separate judge for hearing.

                                                             60.


                    Petitioner shows that by denying the Preliminary Plat Application, the Board of



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            Commissioners have failed to faithfully perfoim their legally required duties. As a result, a defect

            of legal justice would ensue from this failure.

                                                              61.


                    While Petitioner may have other legal remedies available to it as set forth herein, Petitioner

            shows that it lacks an adequate legal remedy by which it can obtain its legal entitlement to approval

            of the Preliminary Plat Application except through the issuance of the writ of mandamus.

            Accordingly, there is no other specific legal remedy for the vindication of the Petitioner's legal

            rights to the approval of its Preliminary Plat Application.

                                                              62.


                   Petitioner shows that it is entitled to a writ of mandamus compelling the approval of the

            Preliminary Plat Application.

                        COUNT FOUR -INVERSE CONDEMNATION/REGULATORY TAKING


                                                              63.


                   Petitioner incorporates all paragraphs contained above as if the same were reprinted

            verbatim here.


                                                              64.


                    As shown above, the Final Decision by the Board of Commissioners to deny the

            Preliminary Plat Application constitutes a taking or damaging of private property without just and

            adequate compensation being first paid pursuant to Article I, Section III, Paragraph I, of the

            Constitution of the State of Georgia.

                                                              65.


                   Petitioner further shows the Court that the governmental regulation at issue in this matter

            is so onerous that its effect is tantamount to a direct appropriation or ouster.



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                                                             66.


                    Petitioner shows that the denial of the Preliminary Plat Application deprives the Subject

            Property of substantially all economic value.

                                                             67.


                    At the very least, the Board of Commissioners' Final Decision to deny the Preliminary Plat

             Application has damaged Petitioner's property without a valid public purpose or without first

            acquiring any ownership interest therein.

                                                             68.


                    For these reasons, Petitioner is entitled to compensation for the diminution in value for its

             property subject to the Preliminary Plat that should have been approved.

             COUNT FIVE - DEPRIVATION OF CONSTITUTIONAL RIGHTS AND CLAIM UNDER 42
                                                        U.S.C. § 1983


                                                             69.


                    Petitioner incorporates all paragraphs contained above as if the same were reprinted

             verbatim here.


                                                             70.


                    Petitioners has a right of action pursuant to 42 U.S.C. § 1983 for Declaratory Judgment for

            the redress of the denial of rights protected by the due process and equal protection clauses of the

            Fifth and Fourteenth Amendments to the Constitution of the United States.


                                                             71.


                    Petitioners is entitled to recover reasonable attorneys' fees, expenses oflitigation and other

             costs incurred in an effort to vindicate its constitutionally protected rights under the Fifth and

             Fourteenth Amendments to the Constitution ofthe United States to 42 U.S.C. § 1988.




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                                                             72.


                   42 U.S.C. § 1983 provides that:

                   Every person who, under color of any statute, ordinance, regulation, custom, or
                   usage, of any State or Territory or the District of Columbia, subjects, or causes to
                   be subjected, any citizen ofthe United States or other person within the jurisdiction
                   thereof to the deprivation of any rights, privileges, or immunities secured by the
                   Constitution and laws, shall be liable to the party injured in an action at law, suit in
                   equity, or other proper proceeding for redress, except that in any action brought
                   against a judicial officer for an act or omission taken in such officer's judicial
                   capacity, injunctive relief shall not be granted unless a declaratory decree was
                   violated or declaratory relief was unavailable.

                                                             73.


                   The Equal Protection Clause of the Fourteenth Amendment to the Constitution of the

            United States guarantees that all citizens of the United States are treated equally and fairly.

                                                             74.


                   Similarly, the Due Process Clause ofthe Fourteenth Amendment to the Constitution ofthe

            United States guarantees that citizens of the United States receive procedural due process,

            substantive due process, and are not subject to arbitrary or capricious laws.

                                                             75.


                   In this case, while the Board of Commissioners has approved prior construction of the

            existing development, the Village of Ellenwood Subdivision, including approval of preliminary

            subdivision plats for other persons similarly situated, it has arbitrarily denied Petitioner's request

            to subdivide the Subject Property based on subjective criteria not contained in the Clayton County

            Code of Ordinances.


                                                             76.


                   Such denial is an arbitrary application of the Clayton County Code of Ordinances and

            denies Petitioner its right to due process and equal protection.



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                                                             77.


                    As a result of the Board of Commissioners' violation of Petitioner's constitutional rights,

            Petitioner has suffered damages in an amount to be proven at trial.

                                           COUNT SIX - ATTORNEY'S FEES


                                                             78.


                    The actions of Defendants and Respondents have been stubbornly litigious, performed in

             bad faith, and have caused Petitioner unnecessary trouble and expense. Accordingly,the Petitioner

            is entitled to attorney's fees and litigation expenses pursuant to O.C.G.A. § 13-6-11.

                                                             79.


                    Petitioner is also entitled to attorney's fees and litigation expenses pursuant to O.C.G.A. §

            9-15-14(a) because the positions asserted by the Defendants and Respondents have such a

            complete absence of any justiciable issue of law or fact that it could not be reasonably believed

            that a court would accept such positions.

                                                             80.


                    Petitioner is further entitled to attorney's fees and litigation expenses pursuant to O.C.G.A.

            § 9-15-14(b) because the positions asserted by the Defendants and Respondents lacked substantial

            justification, were interposed for delay and harassment, and unnecessarily expanded these

             proceedings.

                                                             81.


                    Petitioner is further entitled to attorney's fees and litigation expenses pursuant to 42 U.S.C.

            § 1988(b)because the Defendants and Respondents have violated Petitioner's civil rights for which

            Petitioner was forced to initiate the instant litigation, incurring attorney's fees and expenses to

             effectuate the same.




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                    WHEREFORE,Petitioners prays for the following relief, including:

                A. Under Count One, the issuance of a Writ of Certiorari directed to Respondents; a hearing

                   on this Petition; and a reversal of the Final Decision made by the Board of Commissioners

                   to deny the Preliminary Plat Application.

                B. Under Count Two, a declaration that the Final Decision made by the Board of

                    Commissioners to deny the Preliminary Plat Application violated Petitioner's

                    Constitutional Rights and are, in fact, unconstitutional.

                C. Under Count Three, the issuance of a writ of mandamus compelling the Board of

                    Commissioners to approve the Preliminary Plat Application.

                D. Under Count Four, a finding that the Final Decision made by the Board of Commissioners

                   regarding the Preliminary Plat Application was unlawful in that it constituted a taking or

                    damaging ofPetitioner's property withoutjust and adequate compensation being first paid;

                    or, in the alternative, the commencement of an expedited hearing to determine the amount

                    ofjust and adequate compensation to which Petitioner is entitled.

                E. Under Count Five, a declaration that the Final Decision made by the Board of

                    Commissioners to deny the Preliminary Plat Application violated the Petitioners'

                    Constitutional Rights under 42 U.S.C. § 1983 and an award of attorney's fees and litigation

                   expenses for having to bring this action pursuant to 42 U.S.C. § 1988.

                F. Under Count Six, an award of attorney's fees and litigation expenses pursuant to O.C.G.A.

                   § 13-6-11; O.C.G.A. §9-15-14(a); O.C.G.A. § 9-15-14(b); and, 42 U.S.C. § 1988.

                G. Finally, for such other and further relief as this Court deems proper.

                Respectfully submitted this l3fl^ day of January 2021.
                                                 (Signature on next page)



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                                                                                       '£l
                                                         Andrew J.(Andy) Welch,
                                                         Georgia Bar No. 746801
                                                         Warren M. Tillery
                                                         Georgia Bar No. 763972
                                                         M. Chase Collum
                                                         Georgia Bar No. 991516
                                                         Attorneys for Plaintiff and Petitioner
             SMITH, WELCH, WEBB & WHITE,LLC.
             2200 Keys Ferry Court
             P.O. Box 10
             McDonough, Georgia 30253
             Telephone:(770)957-3937
             Facsimile:(770)957-9165
             E-mail: awelch@smithwelchlaw.com
             E-mail: wtillery@smithwelchlaw.com
             E-mail: ccollum@smithwelchlaw.com




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                                                                             CLERK SUPERIOR COURT
                                 IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                            STATE OF GEORGIA


            SUNRISE BUILDERS,INC.,

                   Plaintiff/Petitioner,

                                                            CIVIL ACTION
                                                                       2021CV00165-10
                                                            FILE NO.
            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                   Defendants,

            and


            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP; and
            HERMAN TURNER,ADDIE WHITTAKER,
            KEVIN LEWIS, KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                    Respondents.




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                                                                        CLAYTON COUNTY, GA
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                                                                        CLERK SUPERIOR COURT

                                                            VERIFICATION
                                                                               2021CV00165-10
              STATE OF GEORGIA
              COUN FY OF CLAYTON


                          PERSONALLY APPEARED before me, the undersigned officer, duly authorized by law

              to administer oaths in the State of Georgia, Mahmoud Amercani, who is the CEO of Sunrise

               Builders. Inc., who, after being duly sworn, verifies that the facts contained in the within and

               foregoing Petition for Writ of Certiorari, Appeal and Verified Complaint are true and correct to

               the best of his knowledge.

                                f         day of January, 2021.


                                                                       Mahmoud Amercani
                                                                       CEO, Sunrise Builders, Inc.

               Sworn to and subscribed before me.


               this          day of (JCimMU .2021

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               NOTARY PUBLIC                        ,
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                                              2021CV00165-10

                                          COMMUNITY DEVELOPMENT DEPARTMENT

                                          121 South McDonough Street, Jonesboro, GA 30236
                                                        Office:(770)477-3569
                                  https://www.claytoncountyga.gov/government/community-development

                                          PRELIMINARY PLAT APPLICATION



               Application Submittal:
               This application is required for all Preliminary Plat applications (Appendix A; Article 3, Division
               4, Sec. 86-122).


               Incomplete applications will not be accepted.


                All applications must be complete and submitted in accordance with the adopted Zoning
                Matters Schedule. Applicants are encouraged to submit complete applications prior to the
                noted submittal cutoff date. Please meet with the Office of Planning, Zoning, and
               Sustainability staff regarding any questions or clarifications.


               Supporting Documentation:
               See Document Requirements Matrix (attached)
               Zoning Matters Calendar (attached)



                Fees and Schedule:


               The fee for submitting a Preliminary Plat application is $500.

                The Preliminary Plat application proceeds through the Technical Review Committee and
               Zoning Advisory Group public hearings for approval.



                Note:


                Upon approval of the Preliminary Plat, the applicant can submit an application for
                Construction Site Plan Approval.




                                                                                                                 EXHIBIT


                              Planning, Zoning, and Sustainability Division
                                                                          | Office; 770.473.5401               .A_
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                                             COMMUNITY DEVELOPMENT DEPARTMENT

                                              121 South McDonough Street, Jonesboro, GA 30236
                                                              Office: (770)477-3569
                                      httpsi/Awww.claytoncountyga.gov/government/community-development

                                              PRELIMINARY PLAT APPLICATION



                Applicant Has Previously Attended a Pre-Appllcatlon Meeting: □ Yes □ No


                OWNER/APPLICANT:


                Owner Name:                            Applicant Name:
                Sunrise Builders Inc/ Mahmoud Amercani Same As Owner
                 Address:                                                 Address:
                301 Highway 138 W
                 City:                    state:      Zip:                City:                 State:         Zip:
                Jonesboro                 Georgia 30238
                 Tel #:                   Mobile #:                       Tel #:                Mobile #:
                770-210-2277              770-318-8614
                 Email:                                                   Email:
                cmaker@sphinxrealty.com


                PROPERTY INFORMATION:


                 Project Name:
                Villages of Ellenwood Tract #9
                 Property Location:                                                                      Commission District:
                Vlliagewood Lane; Ellenwood, Georgia                                                     1
                 Parcel #(s):                                  i Current Zoning District:                Total Acreage:
                12247CA005, 12234AB001                         iPUD                                      14.927




                Any Applicable Zoning Overlay Districts: M N/A □ Mountain View □ Old Dixie

                □ Highway 138 □ Highway 42 □ Highway 54 □ Tara Boulevard □ Panhandle Area □ Cherry Hills



                Type of Development:

                S Residential     □ Non-Residential          □ Mixed Use




                                 Planning, Zoning, and Sustainability Division j Office: 770.473.5401


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                                                  COMMUNITY DEVELOPMENT DEPARTMENT

                                                  121 South McDonough Street, Jonesboro, GA 30236
                                                                  Office: (770)477-3569
                                         https://www.ciaytoncountyga,gov/government/comm unity-development

                                                  PRELIMINARY PLAT APPLICATION



                 Is Property Currently Vacant:

                 B Yes □ No



                 If No, Current Use of Property:




                 Proposed Use of Property:



                  Residential Development
                 Will the Project Contain an Amenity Area:

                 □ Yes      B No



                 If Yes, Describe Amenity Area:



                  NA

                 Total Number of Lots Proposed:
                                                        42


                 Minimum Lot Size Proposed:
                                                  .6,000 sf. (BO'xIOO')

                 If Proposed Use Is Commercial:

                                                     NA
                 Total Building Area Proposed:



                I hereby certify that the information provided in this application is true and accurate.


                Print Name.                                          ignature,                             Date Z   ' 2.:!




                                   Planning, Zoning, and Sustainability Division | Office: 770.473.5401




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          JEFFREY E. TURNER
               CHAIRMAN
        MICHAEL L EDMONOSON
                                                            COMMUNITY DEVELOPMENT DEPARTMENT
       VICE CHAIRMAN / DISTRICT 4
      SONNA SINGLET0N-GREC5ORY
                                                            121 South McDonough Street, Jonesboro, GA 30236
              DISTRICT 1
           GAILB. HAMBRICK
                                                                          Office: (770)477-3569
              DISTRICT 2                                                                                                          PATRICK EJIKE
       FELICIA FRANKLIN WARNER
                                                 https://www.claytoncoijntyga.gov/government/community-cfevelopment
              DISTRICTS                                                                                                            DIRECTOR




                                                 PROPERTY OWNER(S)AUTHORIZATION FORM


                            Mahmoud Amercani                               swear and affirm that I am the owner of the property at
                            {Property Owner's Name)


                           Villagewood Lane, Ellenwood, Georgia (12247CA005, 12234AB001)                         shown on the Tax
                          (Properly Address and Parcel Number)



                           Map And/or deed records of Clayton County, Georgia.



                           I hereby authorize SaiHG As OwnGf                              to act as the applicant or agent In pursuit of
                                                             (Applicant Name)



                           the development requested on this property.




                        (Signature of Property Owner)




                          Personally appeared before me on this                 1'4   day of      June           20




                           My Commission expires on                       /^4



                          Notary Signature/S                                          Date
                                      - '        EXPIRES           c
                                      =    : GEORGIA ; :
                                                  2/20/24      /   ^




                                           Planning, Zoning, and Sustainability Division
                                                                                      |  Office: 770.473.5401




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                         PLANNING,ZONING,& SUSTAINABILITY APPLICATION SUBMITTAL REQUIREMENTS

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                ZONING APPEALS

                Administrative Decision Appeals                                    X                                         X

                Zoning Variance                                                    X           X                       X     X         X           X

                ADMINISTRATIVE PROCESS

                Pre-Application Meeting Request                                    X                                         X         X           X


                Zoning Verification Letter Request                                 X                                         X         X


                Minor Subdivision, Lot Combination, Lot ReParcel                   X           X                       X     X         X     X     X

                Tree Removal                                                       X           X                       X     X         X           X     X

                Timber Harvesting                                                  X           X                             X         X           X     X


                Urban / Market Garden                                              X           X                             X         X     X     X


                Sign Permit                                                        X                                See Sign Permit Application

                LAND DEVELOPMENT

                Site Development                                                   X           X                       X     X         X           X


                Preliminary Plat                                                   X           X                       X     X         X           X


                Final Plat                                                         X           X                       X     X         X           X


                REZONINGS&LAND USE

                Rezoning (Map Change)                                              X           X            X          X     X         X     X     X


                Future Land Use Plan Amendments                                    X           X            X          X     X         X     X     X

                Zoning Condition Modifications                                     X           X            X          X     X         X     X     X


                Conditional Use Permit                                             X           X            X          X     X         X     X     X

                Planned Unit Development                                           X           X            X          X     X         X     X     X

                Note:
                Letter of Authorization must be notarized
                Sewer Letter from Clayton County Water Authority or Septic Letter from Clayton County Health Department




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                                                                                COMMUNITY DEVELOPMENT DEPARTMENT
                                                                                       121 South McDonough Street, Jonesboro, GA 30236
                                                                          https://www.claytoncountyga.gov/government/community-development

                                                                                        Zoning Matters Calendar 2020 -2021

                                                                                                                           Community
                                                                                              Legal Ad Runs            Information Meeting
                                          Application                 Technical Review                                       (CIM)                  Zoning Advisory
                                                                                                     &                                                                             BOC Public
                                       Flling/Suhmittal                  Committee                                               &                   Group Public
                                                                                              Signs Posted ort                                                                      Hearing**
                                        Cycle Deadline                    Meeting                                       Proof of Interested             Hearing
                                                                                                 Property             Part)' Notice Received
                                                                                                                           by Count) Staff

                                           Jan 7, 2020                   Feb 5,2020             Feb 12, 2020                Feb 19, 2020                Mar 2, 2020                Mar 17,2020


                                           Fcb 4, 2020                   Mar 4, 2020            Mar 11, 2020               Mar 18,2020                  Apr 6, 2020                Apr 21,2020


                                           Mar 3, 2020          ■f.      Apr 1, 2020            Apr 8, 2020                Apr 15, 2020                 May 4, 2020                May 19, 2020


                                           Apr 7, 2020                   May 6, 2020            May 13,2020                May 20, 2020                 Jun 1,2020                 Jun 16, 2020



                                           May 5, 2020                  .June 3,2020            Jun 10, 2020               Jun 17, 2020                 Jul 6, 2020                 Jul 21, 2020


                                           Jun 2, 2020                   July 1,2020             Jul 8, 2020                Jul 15,2020                 Aug 3, 2020                Aug 18,2020

                                                                                                                                                   Sept 3,2020 Holiday
                                            Jul 7, 2020                  Aug 5, 2020      '     Aug 12, 2020               Aug 19, 2020                                            Sept 15,2020
                                                                                                                                                          Schedule


                                           Aug 4, 2020                   Sept 2,2020            Sept 9, 2020               Sept 16,2020                 Oct 5,2 019                Oct 20,2020


                                           Sept 1, 2020                 Sept 30,2020             Oct 7, 2020                Oct 21, 2020                Nov 2, 2020                Nov 17, 2020


                                           Oct 6, 2020                   Nov 4, 2020            Nov 11,2020                Nov (8, 2020                 Dec 7, 2020                Dec 15, 2020


                                           Nov 3, 2020                   Dec 2,2020       '     Dec 9, 2020                 Dec 16, 2020                Jan 4, 2021                Jan 19,2021


                                           Dec 1, 2020                  Dec 30,2020              Jan 6, 2021               Jan 20, 2021                 Feb 1,2021                 Feb 16,2021

      Zoning Advisory Group (ZAG) and Board of Commissioners' (BOG) Public Hearings arc limited lo ten (10) applications per Article 10.15 of the zoning ordinance. Applicants forwarded from fRC will be added to the agenda
      according to the date and time of original submittal.
      *    ZAG and BOG Public Hearings are held at 7:00 P.M. in the Gommissioners Board Room, located at 112 Smith Street, Jonesboro, GA 30326. Each Public Hearing is preceded by a pre-meeting at 6:30p in the conference room.
      " • Technical Review Committee meetings are held in the Community Development conterence room. Applicants must be in attendance and will be assigned a lime slot when fees are received.
          Community Information Meetings (CIM) are held at 6:00 P.M. in the Historic Court Room (2"'' floor), located at 121 McDonough Street, Annex #2, Jonesboro, GA 30326.

                                                                          Planning, Zoning, and Sustainability Division | Office: 770.473.5401
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                                               2021CV00165-10



          JEFFREY E. TURNER
               CHAIRMAN

             DEMONT DAVIS
                                            Clayton County
             VICE CHAIRMAN
           SONNA GREGORY
                                            Commissioners
             COMMISSIONER                         112 SMITH STREET
           GAIL B. HAMBRICK                  JONESBORO,GEORGIA 30236
             COMMISSIONER                       PHONE:(770)477-3208
       FELICIA FRANKLIN WARNER                 www.claytoncountyga.gov
             COMMISSIONER




                                        CERTIFICATION


              I, BRENDA B. JAMES, CLERK TO THE CLAYTON COUNTY BOARD OF

              COMMISSIONERS, DO HEREBY CERTIFY THAT THE FOREGOING SECTIONS

              ARE TRUE AND CORRECT COPIES OF THE FOLLOWING:

                 •      SECTIONS   86-122   AND    86-123       CLAYTON   COUNTY   CODE   OF


                        ORDINANCES


              IN WITNESS, HEREOF, I HAVE HEREUNTO SET ME HAND AND AFFIXED THE
              OFFICIAL SEAL OF CLAYTON COUNTY,GEORGIA THIS,5™ DAY OF JANUARY
              20212.




              BRENDA B.JAME!
              CLERK OF THE COMMISSION




                                                                                          EXHIBIT


                                                                                           B
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                                                                        SUBDIVISIONS                                       § 86-114




                         (b) Property ownership:                                       (7) All existing rights-of-way on and ad
                                                                                           joining the site of the proposed sub
                               (1) The name and address, including                          division showing the street names
                                   telephone number,ofthe legal owner,                      and pavement widths;
                                   the developer of the property or his/
                                   her agent, and citation oflast instru               (8) The location, size, and invert eleva
                                   ment conveying titles to each parcel                     tion of any utilities existing and pro
                                   of property to the owner identified in                   posed adjacent to, and on the site,
                                       the application, giving grantor,                     including storm and sanitary sew
                                       grantee, date, and land records ref                  ers; water mains; electrical, tele
                                       erence;                                              phone, and cable television lines;
                                                                                            street lights; fire hydrants; and such
                               (2) Citations of any existing covenants                      other utilities as may be appropri
                                       on the property;                                     ate;
                               (3) The name and address, including                     (9) The location(s) of any existing struc-
                                   telephone number, of the profession-                    ture(s) on the site and a description
                                   al(s) responsible for the subdivision                    of the future use;
                                   design and for surveys.                             (10) The location ofnatural streams,reg
                                                                                            ulated drains, 100-year flood plains,
                         (c) Property legal description. The location of
                             the property, the name of the land lot,                        floodways, water courses, marshes,
                                                                                            wooded areas, and other structures
                             district, parcel, and county, gi'aphic scale,
                                north arrow, and date.
                                                                                            or significant features;
                                                                                       (11) The location and results of tests, as
                         (d) Development description:                                       required by any county, state, or
                               (1) A legend and notes, including a                          federal government agencies made
                                       graphic scale, north point, and date;                 to ascertain subsurface soil, rock,
                                                                                             and groundwater conditions;
                               (2) An indication of the lot to be consid
                                                                                       (12) The location of all existing and pro
                                   ered the remainder of the parent
                                                                                             posed driveways,and a copy ofagree
                                       tract;
                                                                                             ment providing for the construction
                               (3) The approximate location of existing                      and maintenance of shared drive
                                       or proposed septic systems including                  ways, and no-access easements;
                                       termination point and outlet of all             (13) The proposed phasing of the devel
                                       perimeter drain systems and/or pub                    opment, if more than one lot is in
                                       lic sanitary sewer systems;                           volved and development will occur
                                                                                             over time.
                               (4) The approximate location of any ex
                                   isting or proposed wells and/or pub             (e) Subdivision covenants. In final plat any
                                       lic water S3^tems;                               protective covenants applicable to the sub
                                                                                        division shall be prepared by the peti
                               (5) Lot numbers and the area for each
                                                                                        tioner £uid be legally sound. The cove
                                       lot which may be created on the
                                                                                        nants shall be subject to the approval of
                                       parent tract(listed in square footage
                                                                                        the zoning administrator and/or county
                                       and acres),including ail setback lines,
                                                                                        attorney and, at a minimum, shall pro
                                       lot dimensions and road frontage
                                                                                        vide a means for the maintenance and
                                       widths;
                                                                                        upkeep of any common areas. All cove
                                (6) All existing and proposed easements                 nants shall be recorded in the office of the
                                       including the location, width, and               county clerk of superior courts, with a
                                       purpose of the existing and/or pro               copy of the recorded covenants being pro
                                       posed easement;                                  vided to the department of community


                        Supp. No. 46                                        CD86:53




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                                                                       SUBDIVISIONS                                         § 86-122




                                       zoning administrator in preparation                shall approve, approve with conditions,
                                       for the zoning advisory group hear                 table, or deny the application for prelim
                                       ing by the date specified on the                   inary plat approval.
                                       adopted calendar of meeting and fil                a.   The zoning advisory group shall ap
                                       ing dates.                                              prove the preliminary plat if it is
                               b.      The zoning administrator shall re                       found to be completely consistent
                                       quire further review of the applica                     with the decision criteria provided
                                       tion for preliminary plat approval if                   by this section.
                                       addressing the comments made will                  b.   The zoning advisory group shall ap
                                       require significant alterations in the                  prove the preliminary plat with con
                                       layout of streets, lots, utility sys                    ditions if it is generally consistent
                                       tems, topography, drainage ways, or                     with the decision criteria, but spe
                                       other proposed subdivision features.                    cific minor modifications are re
                                       The application shall be placed on                      quired to meet all of the applicable
                                       the agenda for further review at the                    requirements.
                                       next technical review committee
                                       meeting. The applicant shall revise                c.   The zoning advisory group shall ta
                                       the preliminary plat consistent with                    ble the preliminary plat consistent
                                                                                               with the adopted rules and proce
                                       the comments received from the com
                                                                                               dures of the zoning advisory group.
                                       mittee and supply revised applica
                                       tion materials and the specified num               d.   The zoning advisory group shall deny
                                       ber of copies to the zoning                             the preliminary plat if it is found to
                                       administrator in preparation for fur                    be inconsistent with the decision cri
                                       ther review by the technical review                     teria provided by section 86-103 and
                                       committee by a date specified on the                    requires modifications that would re
                                       adopted calendar of meeting and fil                     sult in changes to the layout of pub
                                       ing dates.                                              lic improvements,lots, drainage S5rs-
                                                                                               tems, or other characteristics of the
                          (d) Notice of public hearing. Notice of public                       subdivision.
                        hearing shall be given in accordance with the
                        requirements of article 13 ofthe zoning ordinance         (2) The zoning advisory group shall make
                                                                                      written findings documenting its deci
                        prior to the zoning advisory group meeting when
                                                                                      sion. The zoning administrator shall re
                        the proposed preliminary plat is to be heard.
                                                                                          turn one copy of the application for pre
                                                                                          liminary plat approval and the plat to the
                          (e) Zoning advisory group hearing. The zoning
                        administrator shall place all applications for                    petitioner with the date of approval, con
                                                                                          ditional approval, continuance, or disap
                        warded to the zoning advisory group by the tech
                        nical review committee on the agenda for a public
                                                                                          proval and a copy of the written findings
                                                                                          of the zoning advisory group within ten
                        hearing at the appropriate zoning advisory group
                                                                                          business days of the date of the decision.
                        meeting based on the adopted calendar of meeting
                                                                                          The zoning administrator shall maintain
                        and filing dates.
                                                                                          one file copy of the preliminary plat ap
                          (1) The zoning advisory group shall hold a                      plication and plat.
                              public hearing on the petition, consider            (3) Approval of a preliminary plat by the
                              ing the preliminary plat application ma                 zoning advisory group is not final ap
                              terials, the report of the technical review                  proval of the subdivision.
                              committee prepared by the zoning admin
                              istrator, and testimony from the peti                   (4) The approval ofthe preliminary plat shall
                              tioner and any interested parties. At the                   expire 18 months from the date of the
                                public hearing, the zoning advisory group                 zoning advisory group's decision if the


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                                                                     SUBDIVISIONS                                         § 86-123




                            (2) Subdivision boundary lines showing                          street lights; fire hydrants; and such
                                dimensions,bearings, and references                         other utilities as may be appropri
                                   to map number, land lot, district,                       ate;
                                   parcel, and county.                                (10) The location(s) of any existing struc-
                        (d) Development description:                                       ture(s) on the site and a description
                                                                                           of its future demolition or incorpora
                            (1) A legend and notes, including a
                                   graphic scale, north point, and date;                    tion into the proposed subdivision;

                            (2) The approximate location of existing                  (11) The location and results of tests, as
                                or proposed septic systems including                       required by any county, state, or
                                termination point and outlet of all                         federal government agencies made
                                perimeter drain systems and/or the                          to ascertain subsurface soil, rock,
                                   municipal sanitary sewer system;                         and groimdwater conditions;

                            (3) The approximate location of any ex                     (12) All proposed sidewalks or pedestrian
                                   isting or proposed wells and/or the                      trials;
                                   municipal water system;                             (13) All locations of existing and pro
                            (4) Preliminary plat approval certificate                       posed street lights and street signs;
                                for signing by the zoning advisory                     (14) A statement of the expected demand
                                   group chairman and/or vice chair                         of the subdivision for capacity at the
                                   man;                                                     applicable waste water treatment fa
                             (5) Lot numbers, including the location                        cility;
                                   of monuments and the area for each                  (15) All proposed landscaping, signage,
                                   lot(listed in square footage and acres),                 development entrance features,
                                   and the buildable areas of each lot                      screening, and attempts at preserv
                                   per applicable zoning district set                       ing natural terrain and open space.
                                   back requirements and any other                          (The zoning advisory group, techni
                                   regulatory or natural limitations;                        cal review committee, or zoning ad
                             (6) All existing and proposed easements                         ministrator may request a landscap
                                 including the location, width, and                         ing plan or buffering plan, prepared
                                 purpose of each easement;                                  by a registered landscape architect,
                             (7) All existing and proposed streets and                      architect, surveyor, or engineer to be
                                 rights-of-way on and adjoining the                          submitted on a separate sheet);
                                 site ofthe proposed subdivision show                  (16) The estimated traffic count increase
                                 ing the proposed names, roadway                             on adjacent streets resulting from
                                 widths, approximate gradients,types                         the proposed development; a descrip
                                 and widths of pavements, curbs, and                         tion of type and condition of roads
                                   sidewalks;                                                serving the subdivision site; the to
                             (8) Any parcels of land proposed to be                          tal number of motor vehicles ex
                                   dedicated or reserved for common                          pected to use or be stationed in the
                                   areas, schools, parks, playgrounds,                       subdivision; and a description of on
                                   or other public, semi-public, or com                      and offsite parking to be supplied.
                                   munity purposes;                                (e) Subdivision phasing description. If the
                             (9) The location, size, and invert eleva                  preliminary plat is to be divided into
                                 tion of utilities existing and pro                    sections for the phasing of development,
                                   posed adjacent to and on the site,                  the preliminary boundaries and numbers
                                   including storm and sanitary sew                     ofsuch sections shall be shown.In no case
                                   ers; water mains; electrical, tele                   may any section contain less than ten
                                   phone, and cable television lines;                   percent of the proposed lots.


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                                                                         SUBDIVISIONS                                        § 86-123



                                            include surface drainage sys                       lines, telephone lines, water mains,
                                            tem,storm sewer systems,sub                        fire hydrants, and cable television
                                            surface drainage systems, and                      lines.
                                            storm water detention facili
                                                                                          (5) All public thoroughfares/rights-of-
                                            ties.Arrows designating the gen
                                                                                               way adjacent to or within 400 feet of
                                            eral drainage of all streets and
                                                                                               the site.
                                            lots shall be included.
                                                                                          (6) Existing streets and rights-of-way
                                (4) Residential drainage plan. Certain                        on and adjoining the site of the pro
                                    residential lots, which have the pos                      posed subdivision showing the names,
                                    sibility of creating drainage prob                        roadway widths, approximate gradi
                                    lems, may be designated as needing                         ents, surface types, and widths of
                                    an individual residential drainage                         pavements and curbs.
                                       plan. Such lots shall be marked
                                       "RDP." Prior to issuance of a build                (7) Existing zoning of the tract and all
                                       ing permit, the applicant shall sub                    contiguous tracts surrounding the
                                       mit plans showing the intended budd                     proposed subdivision.
                                       ing location; driveway location; other             (8) All section and municipal corporate
                                       impervious surfaces; grading plan;                     boundaries l3dng within or contigu
                                       ditches, swales and other drainage                      ous to the tract.
                                       features; and related drainage fea
                                       tures, so that the impact of the indi         (k) Engineering feasibility report. A feasibil
                                       vidual lot on the drainage of the                 ity report prepared by a registered profes
                                       subdivision can be reviewed.The staff             sional engineer covering sewage, water,
                                       must approve the RDP prior to a                    and drainage facilities for the subdivision
                                       permit being issued, and the home                  shall be provided which includes, but is
                                       must be built and the lot graded in                not limited to, the following:
                                       compliance with the plan.                          (1) Utility systems. A description of the
                                                                                              feasibility of connecting to existing
                          (j)    Vicinity description. On a separate sheet a
                                                                                               storm and sanitary sewers and wa
                                vicinity map must be submitted that in
                                                                                               ter supply. This portion of the report
                                cludes the following information:
                                                                                               shall include the distance fi'om the
                                (1) Location ofthe proposed subdivision                        nearest public sewer and the capac
                                    within the county.                                         ity ofthe existing system intended to
                                                                                               handle the additional waste load and
                                (2) Existing subdivisions and lots adja                        any additional requirements of the
                                       cent to or within 400 feet of the
                                                                                               county water authority.
                                       proposed subdivision. The owners of
                                       each of these tracts shall be identi              (2) Street construction. A preliminary re
                                       fied on the drawing with the date                       port on the types of street construc
                                       and book and page (or instrument                        tion based on the specifications pro
                                       number) of the last conveyance of                       vided by this article and any
                                       ownership.                                              additional requirements of the de
                                                                                               partment of transportation and de
                                (3) Existing schools, parks, playgrounds,                      velopment.
                                       or other similar public facilities that
                                       will serve the proposed subdivision.              (3) Traffic study. A traffic impact study
                                                                                               shall be submitted for residential
                                (4)    Location and size of all utilities ad                   developments with more than 120
                                       jacent to or within 400 feet of the                     dwelling units and for any commer
                                       subdivision site, including sanitary                    cial development deemed likely by
                                       and storm sewers, gas lines, electric                   the department oftransportation and


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          JEFFREY E. TURNER
               CHAIRMAN

             DEMONT DAVIS
                                        Clayton County
             VICE CHAIRMAN
           SONNA GREGORY
                                            Commissioners
             COMMISSIONER                         112 SMITH STREET
           GAILB. HAMBRICK                   JONESBORO, GEORGIA 30236
             COMMISSIONER                       PHONE:(770)477-3208
      FELICIA FRANKLIN WARNER                  www.claytoncountyga.gov
             COMMISSIONER




                                        CERTIFICATION


              I, BRENDA B. JAMES, CLERK TO THE CLAYTON COUNTY BOARD OF

              COMMISSIONERS. DO HEREBY CERTIFY THAT THE FOREGOING SECTIONS

              ARE TRUE AND CORRECT COPIES OF THE FOLLOWING:


                 •      SECTIONS   86-122   AND    86-123       CLAYTON   COUNTY   CODE   OF


                        ORDINANCES


              IN WITNESS, HEREOF, I HAVE HEREUNTO SET ME HAND AND AFFIXED THE
              OFFICIAL SEAL OF CLAYTON COUNTY. GEORGIA THIS, 5^" DAY OF JANUARY
              20212.




              BRENDA B.JAME:
              CLERK OF THE COMMISSION




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          § 86-114                                    CLAYTON COUNTY CODE




                     development prior to the issuance of an           (3) Be accompanied by a fee in the amount
                     improvement location permit and or build              established by the adopted fee schedule;
                     ing permit,                                            and
            (f)      Vicinity description. On a separate sheet a       (4) Be accompanied by a copy of all comments
                     vicinity map must be submitted that in                received from the appropriate local utility
                     cludes the following information:                     providers.(At a minimum,the subdivider
                     (1) The location of the proposed subdi                shall provide an affidavit indicating that
                         vision within the county;                         a copy of the proposed preliminary plat
                                                                           has been provided to all appropriate local
                     (2) All public thoroughfares/rights-of-
                                                                            utilities).
                          way adjacent to or within 200 feet of
                          the site;                                  (b) Processing standards. No application shall
                     (3) Existing and proposed driveways lo        be processed until the application is filled out
                          cated on either side of all roads ad     correctly and all applicable attachments sue pre
                          jacent or within 200 feet of the sub     sented to the zoning administrator. No docket
                          ject property;                           number shall be released until the complete ap
                                                                   plication has been submitted and aU applicable
                (4) Existing zoning of the tract and all           fees have been paid for the application.
                      contiguous tracts surrounding the
                      proposed subdivision.                          (c) Technical review committee. The zoning ad
         (Ord. of 5-22-08, § 3.4)                                  ministrator shall place the application for prelim
                                                                   inary plat approval on the agenda for the appli
          Sees. 86-115—86-120. Reserved.                           cable meeting of the county technical review
                                                                   committee.

               DIVISION 4. MAJOR SUBDIVISION                           (1) In reviewing the application, the techni
                                                                            cal review committee shall consider the
          Sec. 86-121. Intent.                                              provisions of this article, the zoning ordi
                                                                            nance, and other applicable adopted re
            The intent of this article is to provide proce
                                                                            quirements.
         dures and standards for review of all applications
         for the subdivision of all land not exempt or not             (2) The technical review committee shall make
         considered a minor subdivision under division 3 of                 comments regarding the application. Based
         this article.                                                      on those comments, the zoning adminis
         (Ord. of 5-22-08, §4.1)                                            trator shall either forward the application
                                                                            to the zoning advisory group or require
         Sec. 86-122. Preliminary plat application                          further review.
                      and review procedure.
                                                                            a.    The zoning administrator shall for
           (a) Application requirements. In order to begin                        ward the application for preliminary
         the subdivision process the applicant shall file an                      plat approval to the zoning advisory
         application for preliminary plat approval and the                        group if addressing the comments
         specified number ofcopies with the zoning admin                          made will not require the applicant
         istrator. This application shall:                                        to significantly alter the layout of
                                                                                  streets, lots, utility systems, topog
            (1) Be made on forms available at the depart
                                                                                  raphy, or other proposed subdivision
                ment of community development and be
                                                                                  features. The appUcant shall revise
                signed by the owner and developer and
                                                                                  the preliminary plat consistent with
                     notarized;
                                                                                  the comments received from the tech
           (2) Be accompanied by the specified number                             nical review committee and supply
               of copies of a preliminary plat meeting the                        revised application materials and the
               requirements provided by this article;                             specified number of copies to the


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          § 86-122                                     CLAYTON COUNTY CODE




                     applicant has not proceeded with the de        Sec. 86-123. Specifications for preliminary
                     velopment by appljdng for construction                      plat documents to be submit
                     plan approval.                                                  ted.

                     a.     Extensions of time may be granted
                                                                      The proposed preliminary plat shall be pre
                            by the zoning advisory group upon
                                                                    pared by a land surveyor or professional engineer
                            the request of the petitioner.
                                                                    and certified by a land surveyor registered by the
                     b.     In the case ofpreliminary plats which   state. It shall be designed on state plane coordi
                            are divided into sections for the pur   nates, drawn at a scale of 100 feet to one inch on
                            pose of a phased construction, the      sheets not exceeding 24 inches by 36 inches in
                             preliminary plat shall expire five     area. The proposed preliminary plat shall include:
                             years after the date of approval of
                            the construction plans for the most          (a) Property name:
                            recently developed section ifconstruc
                                                                             (1)    The name of the subdivision if the
                            tion plans for the subsequent section
                                                                                    subject property is within an exist
                            have not been approved and the in
                                                                                    ing subdivision; or
                            stallation of public improvements in
                            that section commenced. Nonresiden-              (2) A proposed name if not within a
                            tial preliminary plats shall expire                  previously platted subdivision. The
                            seven years from the date of ap                      proposed name shall not duplicate
                             proval.                                                the name of any subdivision plat
            (5) If the preliminary plat application is de                           previously recorded nor for which
                                                                                    piuhminary plat approval is still in
                     nied, the petitioner may not resubmit the
                                                                                    effect.
                     same application for six months from the
                     date of disapproval. Fees on a resubmit-
                                                                         (b) Property ownership:
                     ted preliminary plat application shall be
                     the same as if it were an original submit-              (1) The name and address, including
                     tal.                                                           telephone number,ofthe legal owner,
                                                                                    the developer of the property or his/
            (0 Decision criteria. In reviewing applications
                                                                                    her agent, and citation oflast instru
          for preliminary plat approval,the zoning advisory
                                                                                    ment conve3dng titles to each pEircel
          group shall consider the following criteria:
                                                                                    of property to the developer involved
            (1) The degree to which the proposed prelim                             in the proposed subdivision, giving
                     inary plat is consistent with the provi                        grantor, grantee, date, and land
                     sions of the comprehensive plan;                               records reference;

            (2) The degree to which the proposed prelim                       (2)   Citations of any existing covenants
                inary plat is consistent with the require                           on the property;
                     ments of this article;
                                                                             (3) The name and address, including
            (3) The degree to which the proposed prelim                             telephone number, of the profes
                inary plat is consistent with the intent                            sional person(s) responsible for the
                     and st£uidards of the zoning district in                       subdivision design, for the design of
                     which it is located; and                                       the public improvements, and for
                                                                                    surveys.
            (4) The degree to which the proposed prelim
                inary plat is consistent with all adopted                (c) Property description:
                construction standards for public improve
                ments in the county, and standard engi                       (1) A dimensioned drawing of the parcel
                neering practices.                                               of land which is being subdivided,
          (Ord. of 5-22-08, § 4.2)                                               including any remaining tract;


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                                                                     SUBDIVISIONS                                      § 86-123




                            (2) Subdivision boundary lines showing                       street lights;fire hydrants; and such
                                dimensions,bearings, and references                      other utilities as may be appropri
                                to map number, land lot, district,                       ate;
                                parcel, and county.                                 (10) The location(s) of any existing struc-
                        (d) Development description:                                     ture(s) on the site and a description
                                                                                         of its future demolition or incorpora
                            (1) A legend and notes, including a
                                                                                         tion into the proposed subdivision;
                                graphic scale, north point, and date;
                            (2) The approximate location of existing                (11) The location and results of tests, as
                                or proposed septic systems including                     required by any county, state, or
                                termination point and outlet of all                      federal government agencies made
                                perimeter drain systems and/or the                       to ascertain subsurface soil, rock,
                                   municipal sanitary sewer system;                      and groundwater conditions;

                            (3) The approximate location of any ex                  (12) All proposed sidewalks or pedestrian
                                isting or proposed wells and/or the                       trials;
                                   municipal water system;                          (13) All locations of existing and pro
                            (4) PreUminary plat approval certificate                     posed street lights and street signs;
                                for signing by the zoning advisory                  (14) A statement of the expected demand
                                group chairman and/or vice chair                         of the subdivision for capacity at the
                                   man;                                                  applicable waste water treatmentfa
                             (5) Lot numbers, including the location                      cility;
                                   of monuments and the area for each               (15) All proposed landscaping, signage,
                                   lot(listed in square footage and acres),              development entrance features,
                                   and the buildable areas of each lot                   screening, and attempts at preserv
                                   per applicable zoning district set                    ing natural terrain emd open space.
                                   back requirements and any other                       (The zoning advisory group, techni
                                   regulatory or natural limitations;                     cal review committee, or zoning ad
                             (6) All existing and proposed easements                      ministrator may request a landscap
                                   including the location, width, and                     ing plan or buffering plan, prepared
                                   purpose of each easement;                              by a registered landscape architect,
                             (7) All existing and proposed streets and                    architect, surveyor, or engineer to be
                                 rights-of-way on and adjoining the                       submitted on a separate sheet);
                                   site ofthe proposed subdivision show             (16) The estimated traffic count increase
                                   ing the proposed names, roadway                        on adjacent streets resulting from
                                   widths,approximate gradients,tjqies                    the proposed development; a descrip
                                   and widths of pavements,curbs, and                     tion of type and condition of roads
                                   sidewalks;                                             serving the subdivision site; the to
                             (8) Any parcels of land proposed to be                       tal number of motor vehicles ex
                                   dedicated or reserved for common                       pected to use or be stationed in the
                                   areas, schools, parks, playgrounds,                    subdivision; and a description of on
                                   or other public, semi-public, or com                   and offeite parking to be supplied.
                                   munity purposes;                             (e) Subdivision phasing description. If the
                             (9) The location, size, and invert eleva               preliminary plat is to be divided into
                                 tion of utilities existing and pro                 sections for the phasing of development,
                                   posed adjacent to and on the site,               the preliminary boundaries and numbers
                                   including storm and sanitary sew                  ofsuch sections shall be shown.In no case
                                   ers; water mains; electrical, tele                may any section contain less than ten
                                   phone, and cable television lines;                percent of the proposed lots.


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        § 86-123                                   CLAYTON COUNTY CODE




                        development to generate 100 or more          ity providers, or other county, state, or
                        p.m. peak hour trips. The traffic im        federal agencies not represented on the
                        pact study shall follow procedures           technical review committee.
                        established by the most recent edi
                        tion of the ITE transportation im       (2) In reviewing the appEcation, the techni
                        pact analysis for site development.          cal review committee shall consider
        (Ord. of 5-22-08, § 4.3)                                     whether or not the construction plans
                                                                     meet the requirements of this article and
        Sec. 86-124. Construction site plan applica                  any other adopted and applicable construc
                     tion and review procedure.                      tion standards or common engineering
                                                                     practices, and are consistent with the
          (a) Application requirements. It shall be the              approved preliminary plat.
        responsibility of the petitioner to prepare and
        have certified, by a registered professional engi       (3) The technical review committee shall make
        neer in the state, a complete set of construction            comments regarding the application and
        site plans,including profiles, cross-sections, spec          either approve, approve with modifica
        ifications, and other supporting data for all re             tions, table and recommend modifica
        quired public streets, utilities, and other facili           tions, or deny the construction site plan
        ties. The applicant shall file an application for            approval request,
        construction plan approval and the specified num
        ber of copies with the department of transporta              a.   The technical review committee shall
        tion and development. This application shall;                     approve the construction site plans
                                                                          if they are consistent with the ap
           (1) Be made on forms available at the depart                   proved preliminary plat and all ap
                   ment of tremsportation and development                 plicable provisions of this article,
                   and be signed and notarized by the owner               other applicable construction stan
                   and developer;                                         dards, and common engineering prac
                                                                          tices.
           (2) Be accompanied by the specified number
               of copies of the construction site plans              b.   The technical reriew committee shall
               meeting the requirements provided by the                   approve the constmction site plans
                   department of transportation and devel                 with modifications if minor modifica
                   opment; and                                            tions are required for the plans to be
           (3) Be accompanied by a fee in the amount                      consistent with tbe approved prelim
               established by the adopted fee schedule.                   inary plat and all applicable provi
                                                                          sions of this article, other applicable
          (b) Processing standards. No application shall                  construction standards, and com
        be processed until the application is filled out                  mon engineering practices. Minor
        correctly and all applicable attachments are pre                  modifications are those which can be
        sented to the director oftransportation and devel                 adequately agreed upon by the tech
         opment.                                                          nical review committee and the ap
                                                                          plicant at the technical review com
           (c) Technical review committee. The director of
                                                                          mittee meeting and which do not
        transportation shall contact the zoning adminis
                                                                          impact other aspects of the
        trator to place the application for construction
                                                                          subdivision's construction which
         site plan approval on the agenda for the applica                 would require subsequent review. The
         ble meeting of the county technical review com                   specified modifications shall be made
         mittee and distribute copies of the submittals to                by the petitioner and the specified
        the committee members.
                                                                          number of construction site plan sets
           (1) The applicant shall be responsible for                     provided to the director ofthe depart
               obtaining the necessary approvals of util                  ment of transportation and develop-


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                                   CLAYTON COUNTY BOARD OF COMMISSIONERS

               Regular Business Meeting                                                   December 15, 2020
               6:30 PM
                                                      AGENDA



               I.       CALL TO ORDER:


               II.      ROLL CALL:


               III.     INVOCATION AND PLEDGE OF ALLEGIANCE TO THE FLAG:.

               IV.      ADOPTION OF THE AGENDA:

               V.       PROCLAMATIONS & PRESENTATIONS:

                        1.     Veteran of the Month

                        2.     Presentation on Medical Examiner (Commissioner Franklin-Wamer)

               VI.      PUBLIC COMMENT:


                        Citizens will be given a three (3)-minute maximum time limit to speak before the Board
                        of Commissioners about various topics, issues, and concerns. Following thirty minutes
                        of hearing from the public, the Board of Commissioners will allow the remainder of
                        citizens who have signed up to be heard at the next Tuesday business meeting.

               VII.     CONSENT AGENDA


                        1.     Approval ofthe December 1, 2020 Board Meeting Minutes.
                        2.     Monthly report of contracts, contract modifications, and/or change orders
                               authorized by the Director of Central Services and/or the Chairman or Chief
                               Operating Officer for November 2020

                               Pursuant to Section 2-107 (d) of the Clayton County Code of Ordinances,
                               General Purchasing Methods. Authority and Responsibility of the Director of
                               the Department of Central Services. Periodic Reporting to the Board of
                               Commissioners.


                        3.     Recommendation for Award: ITB #20-112 Construction Materials Testing,
                               Inspections and Soil Borings Annual Contract for Clayton County, Georgia.

                               Multi-award: ESC Southeast, LLP, located in Atlanta Georgia; United
                               Consulting Group, LTD, dba United Consulting, located in Norcross,
                               Georgia; and NOVA Engineering and Environmental, LLC, located in
                               Kennesaw, Georgia. Funding is available through the 2009, 2015, 2021
                               SPLOST Funds and Various Department General Funds. As requested by the
                               Department of Building Maintenance. Pursuant to Section 2-113 of the

                                                                                                             EXHIBIT


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                             Clayton County Code of Ordinances, General Purchasing Methods.
                             Competitive sealed bidding process. Acquisitions greater than $74,999.99.
                             Any commodity, good or service that is expected to cost in excess of
                             $74,999.99 or is expected to generate revenue greater than $74,999.99 shall be
                             acquired through the competitive sealed bid process except as otherwise
                             provided in this Purchasing Code.

                        4.   Recommendation for Renewal of the County's Property and Boiler &
                             Machinery Policy for the Period of January 1, 2021 to January 1,2022

                             Recommendation for Renewal of the County's Property and Boiler &
                             Machinery Policy for the Period of January 1, 2021 to January 1, 2022.
                             Premium of $461,967.00 / Edgewood Partners Insurance Center (EPIC)
                             Insurance Brokers and Consultants, utilizing Travelers Property and Casualty
                             Insurance Company and Hudson Insurance Company. Funding is available
                             through the County's General Fund FYE 2021.

                        5.   Recommendation for Award: SWC #20-226 Voting System Products,
                             Equipment and Programs for the Elections and Registrations Department.

                             $475,891.15 / Utilize Statewide Contract #47800-SOS0000037 with
                             Dominion Voting Systems, Inc., located in Denver, Colorado. Funding is
                             available through the Center for Tech and Civic Life COVID-19 Response
                             Grant and the USC Schwarzenegger Institute's Democracy Fund. As
                             requested by the Department of Elections and Registration. Pursuant to
                             Section 2-120 of the Clayton County Code of Ordinances, General Purchasing
                             Methods. Governmental and affiliated entity purchase. The county may
                             purchase services and incidental commodities from other federal and state or
                             local governments when determined to be in the best interest of the county.
                             Documentation to substantiate this decision will be maintained by the
                             department of central services. Such purchases where cost is in excess of
                             $74,999.99 or is expected to generate revenue greater than $74,999.99 shall be
                             approved by the board of commissioners.

                        6.   Recommendation for Award: SWC #20-228 for the Purchase of two (2)2021
                             Kenworth T270 Stock Trucks utilizing Statewide Contract for the Elections
                             and Registration Department

                             $177,824.00 / Utilize Statewide Contract #99999-SPD-SPD0000155-0002
                             with MHC Kenworth-Atlanta, located in Mableton, Georgia. Funding is
                             available through the Center for Tech and Civic Life COVID-19 Response
                             Grant Fund. As requested by the Department of Elections and Registration.
                             Pursuant to Section 2-120 of the Clayton County Code of Ordinances,
                             General Purchasing Methods. Governmental and affiliated entity purchase.



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                             The county may purchase services and incidental commodities from other
                             federal and state or local governments when determined to be in the best
                             interest of the county. Documentation to substantiate this decision will be
                             maintained by the department of central services. Such purchases where cost
                             is in excess of $74,999.99 or is expected to generate revenue greater than
                             $74,999.99 shall be approved by the board ofcommissioners

                             Human Resources Civil Service Administrative Assistant(Human Resources)

                             On behalf on Human Resources, the purpose of this request is to add the
                             classification Civil Service Administrative Assistant Grade 16/Step 1 - Total
                             Compensation $49,730 (34,471). This is a budget neutral request. Funding is
                             available in Human Resources' part-time budget.


                             The classification will provide administrative support to all aspects of the
                             administration of the Civil Service System. The Civil Service Act created the
                             personnel system of administration for Clayton County. The classification will
                             also provide administrative support to the Human Resources Director and Human
                             Resources Executive Assistant. The classification reports to the Human
                             Resources Executive Assistant.



                             Currently, a part-time employee works with the Executive Assistant and Human
                             Resources Director to administer the Civil Service System. This work includes
                             preparing cases for hearings in regards to appeals and grievances. The work
                             includes managing various requests that require Board action including, but not
                             limited to probation extensions, requests to use sick leave reserve, annual leave
                             donations, classification changes, etc. The incumbent must have a basic
                             understanding of legal processes and procedures. Preparing cases to go before the
                             Board involves a lot of preparation and moving parts; the work requires the ability
                             to work with various stakeholders, including attorneys. Due to the nature of the
                             work in this area, the incumbent must have excellent interpersonal skills.
                             Currently, we have a case log of 82 cases that are pending to go before the Civil
                             Service Board, and new cases are constantly be added.


                             This request has no budgetary impact. If approved, the part-time incumbent will
                             become the full-time Civil Service Administrative Assistant, and the cost
                             ($49,730) will be absorbed by Human Resources' part-time budget.

                        8.   Building Maintenance Director & Assistant Director Supplements

                             On behalf of the Office of the Chief Operating Officer, Human Resources is
                             requesting a supplement of 10% of current salary for the Director of Building


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                              Maintenance and Assistant Director of Building Maintenance classifications.


                              The supplement requested for the Director of Building Maintenance Classification
                              is $10,276.05.



                              The supplement requested for the Assistant Director of Building Maintenance
                              Classification is $8,860.94



                              Resolution 4925 was approved by the Clayton County Board of Commissioners
                              on October 20, 2020.



                              Resolution 4925 created the Planning, Design, and Construction Division within
                              Building Maintenance. As a result 13 additional positions were created, and
                              additional responsibilities, accountability, and tasks were assumed by Building
                              Maintenance.



                              The Director of Buildings Maintenance will have overall oversight and
                              responsibility of this new division, and the Assistant Director of Building
                              Maintenance will have direct daily responsibility for all aspects of supervision of
                              the division.



                              The budgetary impact of this request is $19,136.99.


                              No alternatives identified at this time.


                        9.    Budget Amendment 2-15(Ramona Bivins)/ FY21 DA Federal Equitable Sharing

                              To amend the budget from fund balance to cover the cost for other contract
                              services for fiscal year 2021 in the amount of$14,400.

                        10.   Budget Amendment 2-17(Ramona Bivins)/ FY21 Police

                              To amend the budget to recognize donations received from Wal-Mart for the Shop
                              with a Cop program in the amount of $2,000.

                        11.   Budget Amendment 4-9(Ramona Bivins, CFO)

                              To appropriate funds for the final 2015 SPLOST Bond Principal and Interest
                              payment and to transfer these funds to the Debt Service Fund.



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                        12.   Permit Refund


                              The purpose of this request is to issue a refund of $727.75 to Donna Howard
                              Providence Real Estate Consulting for a duplicate payment submitted.

                        13.   Accept the Street Light Petition addition to existing Street Light District Trinity
                              Park. The request is to install four (4) additional street lights. (District 3 -
                              Commissioner Felicia Franklin Warner)
                        14.   Resolution 2020-238- A resolution authorizing Clayton County to submit its
                              amended PY2019 Annual Action Plan to the U.S. Department of Housing and
                              Urban Development ("HUD") to accept funding under the third wave of the
                              Coronavirus Aid, Relief, and Economic Security Act(CARES Act); to authorize
                              the Chairman to perform all acts necessary to accomplish the intent of this
                              resolution; to authorize the Chief Financial Officer to amend the budget to reflect
                              an appropriate revenue source and expense, as may be required; to provide an
                              effective date ofthis resolution; and for other purposes.

                              Synopsis: This resolution authorizes the submission ofthe County's PY2019HUD
                              Action Plan Amendment to the US Department of Housing and Urban
                              Development to acceptfunding under the Coronavirus Aid, Relief and Economic
                              Security Act(CARES Act). The County will receive $1,689,425 in the third round
                              allocation in Community Development Block Grant Coronavirus (CDBG-CV3)
                              funds to be usedfor individuals andfamiliesfor rental/mortgage assistance who
                              are impacted by C0VID-I9.

                        15.   Resolution 220-239- A resolution authorizing Clayton County Senior Services
                              Department to establish rental fees for the Flint River Black Box Theater; to
                              authorize the Chairman to execute any documents relating thereto and to
                              otherwise perform all acts necessary to accomplish the intent of this resolution; to
                              authorize the Chief Financial Officer to amend the budget where necessary to
                              reflect an appropriate revenue source and expense; to provide an effective date of
                              this resolution; and for other purposes.

                              Synopsis: This resolution authorizes Clayton County, on behalf of Clayton
                              County Senior Services Department, to establish rental fees for the Flint River
                              Black Box Theater. The rentalfees shall be in accordance with the attachedfee
                              schedule.


                        16.   Resolution 2020-240-A resolution authorizing Clayton County to adopt a policy
                              to establish fees and charges for the use of facilities, equipment, and participation
                              in programs by the Clayton County Senior Services Department; to authorize the
                              Chairman to execute any documents relating thereto and to otherwise perform all
                              acts necessary to accomplish the intent of this resolution; to provide an effective
                              date of this resolution; and for other purposes.



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                              Synopsis: This resolution authorizes Clayton County, on behalf of Clayton
                               County Senior Services Department, to adopt the attached policy to provide a
                              framework to establish a set of fees and charges for the use of facilities,
                              equipment, and the participation in programs sponsored by the Clayton County
                              Senior Services Department.

                        17.   Resolution 2020-241 - A resolution authorizing the clayton county to enter into an
                              agreement with Tivity Health to offer the Silver Sneakers program within Senior
                              Centers and Flint River Community Center; to authorize the Chairman to execute
                              any documents and to otherwise perform all acts necessary to accomplish the
                              intent of this resolution; to authorize the Chief Financial Officer to amend the
                              budget where necessary to reflect an appropriate revenue source and expense; to
                              provide an effective date of this resolution; and for other purposes. (Senior
                              Services)

                              Synopsis: This resolution authorizes the Clayton County Senior Services
                              Department, wishes to enter into an agreement with Tivity Health to offer the
                              Silver Sneakers program.

                        18.   Resolution 2020-242- A resolution to authorize Clayton County to accept a
                              vehicle seized for forfeiture by the Clayton County Sheriffs Office; to authorize
                              the vehicle for County usage and assign the vehicle to the Clayton County
                              Sheriffs Office; to authorize the Chairman, Central Services, Fleet Maintenance
                              and the Chief Financial Officer to take all actions necessary to achieve the intent
                              of this resolution; to provide an effective date of this resolution; and for other
                              purposes.(Sheriff)

                              Synopsis: This resolution authorizes Clayton County to accept title to a 2005
                              Gray Chevy Trailblazer, VIN 1GNDDS13S352321774 seized and to assign said
                              vehicle to the Clayton County Sheriff's Office for the purpose of enhancing law
                              enforcement.

                        19.   Resolution 2020-243- A resolution authorizing Clayton County to apply for and
                              accept the fiscal year 2021 Local Maintenance and Improvement Grant from the
                              Georgia Department of Transportation; to authorize the Chairman to execute any
                              documents relating thereto and to otherwise perform all acts necessary to
                              accomplish the intent of this resolution; to authorize the Chief Financial Officer to
                              amend the budget where necessary to reflect an appropriate revenue source and
                              expense; to provide an effective date of this resolution; and for other purposes.
                              (Transportation & Development)

                              Synopsis: This resolution authorizes Clayton County, on behalf of Clayton County
                              Transportation and Development Department, to apply for and accept the fiscal year
                              2021 Local Maintenance and Improvement Grant from Georgia Department of



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                              Transportation. The 2021 fiscal year grant is valued at $2,077,059.15 with a
                              required 30% County match of $623,117.75, making the total minimal project
                              value $2,700,176.90.

                        20.   Resolution 2020-244-A Resolution authorizing Clayton County to enter into an
                              amended agreement with the Georgia Bureau of Investigation providing for the
                              terms and conditions under which medical examiner services are rendered to
                              Clayton County in the absence of a coroner; to authorize the Chairman to execute
                              agreement, and otherwise to perform all acts necessary to accomplish the intent of
                              the resolution; to provide an effective date of this resolution; and for other
                              purposes.


                              Synopsis: This resolution authorizes Clayton County to enter into an amended
                              Agreement with the Georgia Bureau of Investigation providing for medical
                              examiner services to Clayton County in the absence of the Clayton County
                              Coroner.


                        21.   Resolution 2020-245-A resolution extending a moratorium on the acceptance of
                              applications relating to the establishment or expansion of small box discount
                              stores; to define small box discount stores; to set an expiration date; and for other
                              purposes.(Community Development)

                              Synopsis: This resolution shall extend a moratorium on the acceptance of
                              applications relating to the establishment or expansion of small box discount
                              stores to expire on January 31, 2021 at 11:59p.m.

                        22.   Resolution 2020-246-Resolution 2020-246-A resolution authorizing Clayton
                              County to enter into a lease agreement with the Chamber of Commerce of
                              Clayton County, Georgia, Inc. for the lease of office space located within 2270
                              and 2272 Mount Zion Road, Jonesboro, Georgia, for use by the Clayton County
                              Economic Development Department; to authorize the Chairman to execute the
                              agreement and to otherwise perform all other acts necessary to accomplish the
                              intent of this resolution; to authorize the Chief Financial Officer to amend the
                              budget where necessary to reflect an appropriate revenue source and expense all
                              as may be required under the terms of the agreement; to provide an effective date
                              of this resolution; and for other purposes.(Economic Development)

                              Synopsis: This resolution authorizes Clayton County to enter into a Lease
                              Agreement with the Chamber of Commerce of Clayton County, Georgia, Inc.for
                              lease of office space within 2270 and 2272 Mount Zion Road, Jonesboro,
                              Georgia,for use by the Clayton County Economic Development Department.




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                        23.      Resolution 2020-247-A resolution authorizing Clayton County to accept a $2,000
                                 donation from Wal-Mart for the Clayton County Police Department; to authorize
                                 the Chairman to accept the donation on behalf of Clayton County and to
                                 otherwise perform all acts necessary to accomplish the intent of this resolution; to
                                 provide an effective date of this resolution; and for other purposes.

                                 Synopsis: This resolution A resolution authorizing Clayton County to accept a
                                 $2,000 donationfrom Wal-Martfor the Clayton County Police Department.


                        END OF CONSENT AGENDA


                        24.      Board Appointment- Tourism Authority (At-Large)

                                 Tonya Clarice term on the Tourism Authority Board will expire 12/31/2020. The
                                 new term will begin 12/31/2020 and will expire 12/31/2024. This is an At-Large
                                 appointment.

                        25.      Board Appointment- Zoning Advisory(Commissioner Franklin-Warner)

                                 Mr. Hershel Trawick resigned from the Zoning Advisory Group as of December
                                 31, 2020. The new appointment will fill his unexpired term.. The new term will
                                 begin December 31, 2020 and will expire August 19, 2021.
                                (Commissioner Franklin-Warner)

                        26.      BOC-2009-0062(CUP)To allow for Automotive Repair Center

                                 BOC-2009-0062(CONDITIONAL USE PERMIT)
                                The applicant Olutayo Olokode is requesting a Conditional Use Permit for
                                Automotive Repair Center within an existing convenience/gas service station
                                (Exonn) on property located at 6539 Highway 42, Rex, Georgia 30252. The
                                property on 4.43 acres +/- is further known as Parcel 12120D A005 zoned GB-
                                General Business District (Article 3, Section 3.21).
                                 Commissioner District # 1 -Sonna Singleton Gregory


                                 Planning & Zoning Recommended: Approval Conditional


                                 ZAG Recommended: Approval Conditional

                              1. The use of the property shall be limited to a one-bay auto service center in
                                 Suite #9. No outdoor storage of tires, equipment or service repair may be
                                 conducted outside of service bay.


                              2. The CUP will be issued to Olutayo Olokode only. Any change in



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                                 ownership will require a new CUP.

                        27.      BOC-2010-0064(CUP)To allow a Food Pantry & Clothing Donation Center

                                 BOC-2010-0064 - The applicant Dianne Collins on behalf of Faith Walk
                                 Ministries, Inc. is requesting a Conditional Use Permit for a property located at
                                 6109 Riverdale Road, Atlanta, Georgia 30349; further known as parcel number
                                 13120A AOOl (0.89 +/- acres). The property is currently zoned GB - General
                                 Business District (Article 3, Section 3.21) and the requested use is for a Food
                                 Pantry and Clothing Donation Center within an existing church facility.
                                 Coininissioner District 2- Gail B. Hambrick.



                                 Planning & Zoning Recommended: Approval-Conditional


                                 ZAG Recommended: Approval-Conditional
                              1. The proposed Community food and clothing pantry center may not
                                 expand beyond the existing 4,744 square feet building. Any expansions
                                 beyond 4,744 square feet will require a new Conditional Use Permit.


                              2. All volunteer / employee parking spaces must be paved and striped.


                              3. Provide a three (3) sided enclosed dumpster area with compatible
                                 architectural materials of the main building.

                        28.      BOC-2010-0065(CUP)To allow expansion of existing dealership

                                 BOC-2010-0065(CONDITIONAL USE PERMIT)
                                 The applicant Cirara Vogan on behalf of Hennessey-Southlake is requesting a
                                 Conditional Use Permit for a property located at 7261 Jonesboro Road, Morrow,
                                 Georgia 30260; further known as parcel number(s) 12080A A005 and 12080A
                                 A007 (13 +/- acres combined). The property is currently zoned GB - General
                                 Business District (Article 3, Section 3.21) and the requested use is for an
                                 Automobile Dealership Expansion of the existing Hennessey-Southlake Mazda
                                 dealership.
                                 Commissioner District 4- DeMont Davis



                                 Planning & Zoning Recommended: Approval-Conditional


                                 ZAG Recommended: Approval-Conditional
                              1. The applicant must submit and be approved for a lot combination of



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                                 adjacent parcel prior to obtaining a building permit.


                              2. The subject property be allowed a Conditional Use Permit for the
                                 operation of auto sales on 8.90 acres consistent with the site plan dated
                                 July 8,2020.

                        29.      BOC-2003-0045 (Rezoning) Request to rezone RS-180 to PUD (Community
                                 Development)

                                 BOC-2003-0045 (Rezoning)- The applicant Battle Law, P.C., on the behalf of
                                 Blackstone Investment CO. is requesting to rezone 25.17+/- acres of land from
                                 RS-180 Single Family Residential District (Article 3, Section 3.6) to PUD -
                                 Planned Unit Development (Article 7) for a proposed new 100- unit single-family
                                 attached townhome community (The Townes at Flat Shoals). The subject
                                 property is located at 1821 Creel Drive with a road frontage along the north side
                                 of Creel Drive near its intersection with West Fayetteville Road (13123B A005),
                                 Just east ofthe Castlegate Subdivision and Flat Shoals Park.

                                 Commissioner District 2- Gail B. Hambrick




                                 Planning & Zoning Recommended: APPROVAL-CONDITIONAL.


                                 ZAG Recommended: Approval with the following conditions:
                              1. The proposed development shall be conditioned to the site plan dated "06-17-
                                 2020", titled "Conceptual/Sketch Plat", presented to ZAG 09-03-2020 and BOC
                                  11-17-2020.

                              2. There shall be fencing provided along the east property line and to screen last
                                 townhome lots.

                              3. There shall be no more than 100 units.

                              4. No more than 10% shall be rental units.

                              5. Maintain the natural greenspace and the flood plain to the north in its natural state
                                 and perpetuity.
                              6. Provide land area for future walking trail connecting the natural greenspace area
                                 to Flat Shoals Park.


                        30.      LS-2006-0009 (Preliminary Plat) requesting a new 121-unit single-family
                                 attached townhome community(Community Development)

                                  LS-2006-0009 (Preliminary Plat) - The applicant Battle Law, P.C., on the
                                  behalf of Blackstone Investment CO. is requesting a new 100-unit single-family


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                                 attached townhome community (The Townes at Flat Shoals) on 25.17+/- acres of
                                 land currently zoned RS-180 Single Family Residential District (Article 3,
                                 Section 3.6). This request is in companion to REZONING (BOC-2003-0045)for
                                 PUD - Planned Unit Development. The subject property is located at 1821 Creel
                                 Drive (PID: 13123B A005) and is adjacent east of the Castlegate Subdivision and
                                 near Flat Shoals Park.

                                 Commissioner District 2- Gail B. Hambrick




                                 Planning & Zoning Recommended: APPROVAL-CONDITIONAL.



                                 ZAG Recommended: APPROVAL with the following conditions:
                              1. The proposed development shall be conditioned to the site plan dated "08-17-
                                 2020", titled "Conceptual/Sketch Plat" and presented to ZAG on 09-03-2020 and
                                 BOG 11-20-20.

                              2. There shall be fencing provided on the east property line for the length along
                                 townhome lots up to the flood plain area.

                              3. Not more than 10% of the townhome units shall be rental units.

                              4. There shall be no more than 100 townhome units.

                              5. Maintain the natural greenspace and the flood plain area to the north of town
                                 homes in its natural state in perpetuity as shown on site plan.

                              6. Provide land area for future walking trail connecting the natural greenspace area
                                 to Flat Shoals Park.


                        31.      LS-2008-0014-Village of Ellenwood Ph 3 - 42 single-family lots(Community
                                 Development)

                                 LS-2008-0014(PRELIMINARY PLAT)- Tabled October 5th
                                 The applicant Sunrise Builder Inc. is requesting to subdivide property located near
                                 the fork of Village Wood Lane and Village Park Drive (Village of Ellenwood
                                 Subdivision); further known as parcel numbers 12247C A005 and 1234A BOOl
                                 (14.9 +/- acres combined) currently zoned PUD - Planned Unit Development
                                 (Article 7)for a proposed 42 single-family lot subdivision (Villages of Ellenwood
                                 - Village Creek).
                                 Commissioner District # 1 -Sonna Singleton Gregory


                                 Planning & Zoning Recommends: Approval with six (6)conditions.




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                               ZAG Recommends: Denial


               EXECUTIVE SESSION

                        Consider any action (s) necessary based on decision (s) made in the Executive Session




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                     Biitlle Lnv,P.C.
                                   .                                                                  MICHELE L. BATTLE, ESQ.
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             www.battlelawpc.com                                                                          ,,
                                                                                                        mlb@battlelawpc.com


        December 15, 2020

        VIA EMAIL


        Clayton County Board of Commissioners
        112 Smith Street.
        Jonesboro, GA 30236

               Re:      LS-2008-0014(PRELIMINARY PLAT)

        Dear Commissioners,

               On behalf of my client, Sunrise Builders, I am hereby providing you with the attached Notice of
        Preservation of Constitutional Allegations Regarding Preliminary Plat Approval regarding the above referenced
        Preliminary Plat Application LS-2008-0014.

               Sunrise Builders is seeking the approval of a Preliminary Plat for the development of 42 single
        family detached homes in Phase 9 of the Villages of Ellenwood, which was rezoned from AG to PUD by the
        Board of Commissioners in 2008 for the development of 47 single-family detached homes with a minimum
        of 60ft of frontage. The Technical Review Committee and the Planning Staff have review and recommended
        approval of the submitted Preliminary Plat. Due to opposition from the community, the Zoning Advisory
        Group, is recommending denial of the Preliminary Plat. It is the Applicant's contention that based up on
        the Clayton County, Ga. Code § 86-122(e)(1)(a): "The zoning advisory group shall approve the
        preliminary plat if it is found to be completely consistent with the decision criteria provided by this section."
        The following is the decision criteria set forth in Clayton County, Ga. Code § 86-122(f)(l-4) for the approval of
        Preliminary Plats:
                               In reviewing applications for preliminary plat approval, the zoning advisory group
                       shall consider the following criteria:

                               1.      the degree to which the proposed preliminary plat is consistent with the
                                       provisions of the County's Comprehensive Plan;
                               2.      the degree to which the proposed preliminary plat is consistent with the
                                       requirements of article 86-122.
                               3.      The degree to which the proposed preliminary plat is consistent with the
                                       intend and standards of the zoning district in which it is located; and
                               4.      the degree to which the preliminary plat is consistent with all adopted
                                       construction standards for public improvements in the County, and standard
                                       engineering practices.

        The decision criteria set forth above is an objective criterion, not a subjective criterion. Meaning that ifthe above
        referenced criteria is met, the Preliminary Plat must be approved, regardless of any objections by the community
        to the architectural features, unit size, or proposed density of the project. The submission criteria for Preliminary

                                           One West Court Square, Suite 750, Decatur, Georgia 30030
                                                  Phone: 404.601.7616 • Fax: 404.745.0045                       I       EXHIBIT




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        Plat Applications DOES NOT require the submission of any exterior or interior elevations, building fa9ade
        materials, marketing materials, anticipate list price, or any other information pertaining to the style, sales price,
        or square footage of homes to be built within the subdivision. Those items are governed by the four corners of
        the Zoning Ordinance, including all architectural design criteria set forth therein. The denial ofa Preliminary Plat
        due to a failure to provide this type of information, or imposing conditions on Preliminary Plat approval based
        upon documentation that is not required to be submitted under Article 86-123, is a clear violation of the
        Applicant's procedural rights. Additionally, the denial of the Preliminary Plat based solely upon the objeetions
        of members of the surrounding community would be an unlawful delegation of authority in violation of
        Article IX, Section II, Paragraph IV of the Georgia Constitution.

               Therefore, based upon the foregoing, as well as the recommendation of approval by the Clayton County
        Technical Review Committee, as well as the Planning and Zoning Department, I am hereby requesting the
        approval of LS-2008-014, subject to the conditions recommended by the Planning and Zoning Department.


                                                                      Sincerely,




                                                                      Michele L Battle


        cc:      Charles Reed, Chief Staff Attorney
                 Patrick Ejike, Director of Community Development
                 Madolyn Spann, Zoning Administrator




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                          NOTICE OF PRESERVATION OF CONSTITUTIONAL ALLEGATIONS

                                      REGARDING PRELIMINARY PLAT APPROVAL

                      The portions of the Clayton County Zoning Ordinance, facially and as applied to the
              Subject Property, which restrict or classify or may restrict or classify the Subject Property so as
              to prohibit its development as proposed by the Applicant are or would be unconstitutional in that
              they would destroy the Applicant's property rights without first paying fair, adequate and just
              compensation for such rights, in violation of the Fifth Amendment and Fourteenth Amendment
              of the Constitution of the United States and Article I, Section I, Paragraph I of the Constitution
              of the State of Georgia of 1983, Article I, Section III, Paragraph I of the Constitution of the State
              of Georgia of 1983, and would be in violation of the Commerce Clause, Article I, Section 8,
               Clause 3 of the Constitution ofthe United States.


                       The application of the Clayton County Zoning Ordinance to the Subject Property which
               restricts its use to any classification other than that proposed by the Applicant is unconstitutional,
               illegal, null and void, constituting a taking of Applicant's Property in violation of the Just
               Compensation Clause of the Fifth Amendment to the Constitution of the United States, Article I,
               Section I, Paragraph I, and Article I, Section III, Paragraph I of the Constitution of the State of
               Georgia of 1983, and the Equal Protection and Due Process Clauses of the Fourteenth
               Amendment to the Constitution of the United States denying the Applicant an economically
               viable use of its land while not substantially advancing legitimate state interests.

                        A denial of this Application would constitute an arbitrary irrational abuse of discretion
               and unreasonable use of the zoning power because they bear no substantial relationship to the
               public health, safety, morality or general welfare of the public and substantially harm the
               Applicant in violation of the due process and equal protection rights guaranteed by the Fifth
               Amendment and Fourteenth Amendment of the Constitution of the United States, and Article I,
               Section I, Paragraph I and Article I, Section III, Paragraph 1 of the Constitution of the State of
               Georgia.

                       A refusal by the Clayton County Board of Commissioners to approve the submitted
               preliminary plat for the Subject Property as requested by the Applicant would be unconstitutional
               and discriminate in an arbitrary, capricious and unreasonable manner between the Applicant and
               owners of similarly situated property in violation of Article I, Section I, Paragraph II of the
               Constitution of the State of Georgia of 1983 and the Equal Protection Clause of the Fourteenth
               Amendment to the Constitution of the United States. Any rezoning of the Property subject to
               conditions which are different from the conditions requested by the Applicant, to the extent such
               different conditions would have the effect of further restricting Applicant's utilization of the
               property, would also constitute an arbitrary, capricious and discriminatory act in zoning the
               Subject Property to an unconstitutional classification and would likewise violate each of the
               provisions of the State and Federal Constitutions set forth hereinabove.

                      A refusal to approve the submitted preliminary plat would be unjustified from a fact-
               based standpoint and instead would result only from constituent opposition, which would be an
               unlawful delegation of authority in violation of Article IX, Section II, Paragraph IV of the
               Georgia Constitution.




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              Sec. 86-123. - Specifications for preliminary plat documents to be submitted.

                    The proposed preliminary plat shall be prepared by a land surveyor or professional engineer and
              certified by a land surveyor registered by the state. It shall be designed on state plane coordinates, drawn
              at a scale of 100 feet to one inch on sheets not exceeding 24 inches by 36 inches in area. The proposed
              preliminary plat shall include;
                  (a)   Property name:
                        (1)   The name of the subdivision if the subject property is within an existing subdivision: or
                        (2)    A proposed name if not within a previously platted subdivision. The proposed name shall
                              not duplicate the name of any subdivision plat previously recorded nor for which
                              preliminary plat approval is still in effect.
                  (b)   Property ownership:
                        (1)    The name and address, including telephone number, of the legal owner, the developer of
                              the property or his/her agent, and citation of last instrument conveying titles to each parcel
                              of property to the developer involved in the proposed subdivision, giving grantor, grantee,
                              date, and land records reference;
                        (2)   Citations of any existing covenants on the property;
                        (3)    The name and address, including telephone number, of the professional person(s)
                              responsible for the subdivision design, for the design of the public improvements, and for
                              surveys.

                  (c)   Property description:
                        (1)    A dimensioned drawing of the parcel of land which is being subdivided, including any
                              remaining tract;
                        (2)    Subdivision boundary lines showing dimensions, bearings, and references to map
                              number, land lot, district, parcel, and county.
                  (d)    Development description:
                        (1)   A legend and notes, including a graphic scale, north point, and date;
                        (2)    The approximate location of existing or proposed septic systems including termination
                              point and outlet of all perimeter drain systems and/or the municipal sanitary sewer system;
                        (3)    The approximate location of any existing or proposed wells and/or the municipal water
                              system;
                        (4)    Preliminary plat approval certificate for signing by the zoning advisory group chairman
                              and/or vice chairman;
                        (5)    Lot numbers, including the location of monuments and the area for each lot (listed in
                              square footage and acres), and the buildable areas of each lot per applicable zoning
                              district setback requirements and any other regulatory or natural limitations;
                        (6)    All existing and proposed easements including the location, width, and purpose of each
                              easement;

                        (7)    All existing and proposed streets and rights-of-way on and adjoining the site of the
                              proposed subdivision showing the proposed names, roadway widths, approximate
                              gradients, types and widths of pavements, curbs, and sidewalks;
                        (8)    Any parcels of land proposed to be dedicated or reserved for common areas, schools,
                              parks, playgrounds, or other public, semi-public, or community purposes;
                        (9)    The location, size, and invert elevation of utilities existing and proposed adjacent to and
                              on the site, including storm and sanitary sewers; water mains; electrical, telephone, and




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                               cable television lines; street lights; fire hydrants; and such other utilities as may be
                               appropriate;
                        (10)     The location(s) of any existing structure(s) on the site and a description of its future
                               demolition or incorporation into the proposed subdivision;
                        (11)     The location and results of tests, as required by any county, state, or federal government
                               agencies made to ascertain subsurface soil, rock, and groundwater conditions;
                        (12)     All proposed sidewalks or pedestrian trials;
                        (13)     All locations of existing and proposed street lights and street signs;
                        (14)     A statement of the expected demand of the subdivision for capacity at the applicable
                               waste water treatment facility;
                        (15)      All proposed landscaping, signage, development entrance features, screening, and
                               attempts at preserving natural terrain and open space. (The zoning advisory group,
                               technical review committee, or zoning administrator may request a landscaping plan or
                               buffering plan, prepared by a registered landscape architect, architect, surveyor, or
                               engineer to be submitted on a separate sheet);
                        (16)      The estimated traffic count increase on adjacent streets resulting from the proposed
                               development; a description of type and condition of roads serving the subdivision site; the
                               total number of motor vehicles expected to use or be stationed in the subdivision; and a
                               description of on and offsite parking to be supplied.
                  (e)    Subdivision phasing description. If the preliminary plat is to be divided into sections for the
                        phasing of development, the preliminary boundaries and numbers of such sections shall be
                        shown. In no case may any section contain less than ten percent of the proposed lots.
                  (f)    Subdivision covenants. Any protective covenants applicable to the subdivision shall be
                        prepared by the petitioner and be legally sound. Covenants shall be incorporated in the plat and
                        subject to the approval and enforcement of the board of commissioners. At a minimum,
                        covenants shall provide a means for the maintenance and upkeep of drainage swales and other
                        drainage facilities and any common areas or entry features.
                  (g)    Contiguous holding description. Whenever the preliminary plat covers only a part of a
                        petitioner's contiguous holdings, the petitioner shall submit, at the scale of no more than one
                        inch equals 200 feet, a sketch of the entire holding, including the proposed subdivision area,
                        showing an indication of the probable future street and drainage systems, for the remaining
                        portion of the tract.
                  (h)    Soils description. On a separate sheet, a soils map shall be provided showing soil boundaries
                        and their identification, the existing and proposed street pattern, any mineral resource areas,
                        and 100-year flood plains.
                  (i)   Drainage plan and report. The subdivider shall provide a drainage report describing the existing
                        and proposed drainage conditions and evaluating the ability of the proposed water courses,
                        channels, drainage tiles, farm tiles, storm sewers, culverts, and other improvements to
                        accommodate the additional runoff generated by the proposed subdivision.
                        (1)     Drainage report. A registered professional engineer shall prepare the report, which shall
                               include:

                               a.   The conditions of the watershed which may affect runoff, such as subsoil type,
                                    positive drainage, and obstructions.
                               b.   The location of all subsurface known drainage tiles and a plan to preserve or relocate
                                    the tiles.

                               c.   Estimates of the water entering the subdivision (computations for major drainage-ways
                                    shall assume that the upper watershed has been developed according to current
                                    growth estimates).




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                              d.   A description of minor and major drainage systems. The minor drainage system shall
                                   consist of storm sewers, drainage ditches, grassed swales, and storm inlets or
                                   infiltration structures. The major system shall consist of roadways, culverts, bridges,
                                   and drainage flow-ways.
                        (2)    Watershed map. On a separate sheet, a watershed map complementing the drainage
                              report using USGS contour information shall be provided, showing;
                              a.   The delineation of the drainage area in which the subdivision is located;
                              b.   The location of drainage courses and the existing direction of surface water flow within
                                   the drainage area.
                        (3)      Drainage plan description. On a separate sheet, a description                of
                              drainage/topography/natural environment complementing the drainage report shall be
                              provided which includes the following information:
                              a.    The location of natural streams, regulated drains, 100-year flood plains and
                                   floodways.
                              b.   The location of any existing or proposed subsurface drain tile, structures, culverts, or
                                   swales.

                              c.   A map noting significant physical and topographical features of the tract. This map
                                   shall also show the proposed direction of the flow of surface water runoff from the site.
                              d.   A preliminary drainage plan showing the proposed storm water drainage system to an
                                   improved outlet. The plan shall include surface drainage system, storm sewer
                                   systems, subsurface drainage systems, and storm water detention facilities. Arrows
                                   designating the general drainage of all streets and lots shall be included.
                        (4)    Residential drainage plan. Certain residential lots, which have the possibility of creating
                              drainage problems, may be designated as needing an individual residential drainage plan.
                              Such lots shall be marked "RDP." Prior to issuance of a building permit, the applicant shall
                              submit plans showing the intended building location; driveway location; other impervious
                              surfaces; grading plan; ditches, swales and other drainage features; and related drainage
                              features, so that the impact of the individual lot on the drainage of the subdivision can be
                              reviewed. The staff must approve the RDP prior to a permit being issued, and the home
                              must be built and the lot graded in compliance with the plan.
                   G)    Vicinity description. On a separate sheet a vicinity map must be submitted that includes the
                        following information:
                        (1)    Location of the proposed subdivision within the county.
                        (2)    Existing subdivisions and lots adjacent to or within 400 feet of the proposed subdivision.
                              The owners of each of these tracts shall be identified on the drawing with the date and
                              book and page (or instrument number) of the last conveyance of ownership.
                        (3)    Existing schools, parks, playgrounds, or other similar public facilities that will serve the
                              proposed subdivision.
                        (4)     Location and size of all utilities adjacent to or within 400 feet of the subdivision site,
                              including sanitary and storm sewers, gas lines, electric lines, telephone lines, water mains,
                              fire hydrants, and cable television lines.
                        (5)   All public thoroughfares/rights-of-way adjacent to or within 400 feet of the site.
                        (6)    Existing streets and rights-of-way on and adjoining the site of the proposed subdivision
                              showing the names, roadway widths, approximate gradients, surface types, and widths of
                              pavements and curbs.
                        (7)    Existing zoning of the tract and all contiguous tracts surrounding the proposed subdivision.




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                        (8)   All section and municipal corporate boundaries lying within or contiguous to the tract.
                  (k)    Engineering feasibility report. A feasibility report prepared by a registered professional engineer
                        covering sewage, water, and drainage facilities for the subdivision shall be provided which
                        includes, but is not limited to, the following:
                        (1)    Utility systems. A description of the feasibility of connecting to existing storm and sanitary
                              sewers and water supply. This portion of the report shall include the distance from the
                              nearest public sewer and the capacity of the existing system intended to handle the
                              additional waste load and any additional requirements of the county water authority.
                        (2)    Street construction. A preliminary report on the types of street construction based on the
                              specifications provided by this article and any additional requirements of the department of
                              transportation and development.
                        (3)     Traffic study. A traffic impact study shall be submitted for residential developments with
                              more than 120 dwelling units and for any commercial development deemed likely by the
                              department of transportation and development to generate 100 or more p.m. peak hour
                              trips. The traffic impact study shall follow procedures established by the most recent edition
                              of the ITE transportation impact analysis for site development.

              (Ord. of 5-22-08, §4.3)




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                                  General Civil and Domestic Relations Case Filing Information Form

                                     0 Superior or □ State Court of Clayton                            County

                For Clerk Use Only
                                 01/14/2021                                              2021CV00165-10
                Date Filed                                             Case Number
                                   MM-DD-YYYY


        P!aintiff(s)                                                    Defendant(s)
        Sunrise Builders, Inc.                                          Clayton County, Georgia
                                         Middle I.   Suffix   Prefix     Last                            Middle I.   Suffix   Prefix
                                                                         Clayton County Board of Commissioners
                                         Middle 1.   Suffix   Prefix     Last             First          Middle I.   Suffix   Prefix
                                                                         Turner, Jeffrey E.
                                         Middle I.   Suffix   Prefix     Last             First          Middle I.   Suffix   Prefix
                                                                         See attached

                                         Middle 1.   Suffix   Prefix     Last                            Middle I.   Suffix   Prefix


        Plaintiff's Attorney Andrew J. (Andy) Welch, III                   Bar Number 7^^6801                  Self-Represented □

                                                       Check One Case Type in One Box

                Genera] Civil Cases                                             Domestic Relations Cases

                          Automobile Tort                                       □       Adoption
                          Civil Appeal                                          □       Dissolution/Divorce/Separate
                          Contract                                                      Maintenance
                          Garnishment                                           □       Family Violence Petition
                          General Tort                                          □       Paternity/Legitimation
                          Habeas Corpus                                         □       Support-IV-D
                          Injunction/Mandamus/Other Writ                        □       Support - Private (non-IV-D)
                          Landlord/Tenant                                       □       Other Domestic Relations
                          Medical Malpractice Tort
                          Product Liability Tort                                Post-Judgment - Check One Case Type
                          Real Property                                         □       Contempt
                          Restraining Petition                                      □   Non-payment of child support,
                          Other General Civil
                                                                                        medical support, or alimony
                                                                                □       Modification
                                                                                □       Other/Administrative

                Check if the action is related to another action(s) pending or previously pending in this court involving some or all
                of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                          Case Number                                   Case Number


                I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
                redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

                Is an interpreter needed in this case? If so, provide the language(s) required.
                                                                                                       Language(s) Required

                Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                                Version 1.1.18




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                                              2021CV00165-10




             Case Filing Information Form

            Defendants, continued:

             Gregory, Sonna Singleton

             Hambick, Gail

            Franklin, Felicia

            Davis, Demont

            Clayton County Zoning Advisory Group
            Turner, Herman

             Whittaker, Addie

            Lewis, Kevin

            Parker, Keith

             Goodson, Arnold

            Trawick, Hershel

            Holloway, Carlton




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                                                                              CLERK SUPERIOR COURT
                                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                             STATE OF GEORGIA

            SUNRISE BUILDERS,INC.

                    Plaintiff/Petitioner,

            V.                                                 CIVIL ACTION
                                                                          2021CV00165-10
                                                               FILE NO.
            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS;JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER, ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                    Defendants,

            and


            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
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            KEVIN LEWIS,KEITH PARKER, ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                   Respondents.




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                           NOTICE OF FILING CERTIFICATE OF PAYMENT OF COSTS

                    Pursuant to O.C.O.A. §§ 5-4-5(a) and 5-4-10, Plaintiffs and Petitioners Sunrise Builders,

            Inc., give notice of their filing, this day, of the original Certificate ofPayment of Costs given by

             Clayton County, Georgia, a true and correct copy of which is attached hereto as Exhibit "A".

                    This i^+lyday of January, 2021.


                                                          Andrew J.(Andy) Welch, III
                                                          Georgia Bar No. 746801
                                                          Warren M. Tillery
                                                          Georgia Bar No. 763972
                                                          M. Chase Collum
                                                         Georgia Bar No. 991516
                                                         Attorneys for Plaintiffs and Petitioners




            SMITH, WELCH, WEBB & WHITE, LLC.
            2200 Keys Ferry Court
            P.O. Box 10
            McDonough, Georgia 30253
            Telephone:(770)957-3937
            Facsimile:(770) 957-9165
            E-mail: awelch@smithwelchlaw.com
            E-mail: wtillery@smithwelchlaw.com
            E-mail: ccollum@smithweIchlaw.com




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                                              2021CV00165-10




                                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                             STATE OF GEORGIA


             SUNRISE BUILDERS,INC.,

                    Plaintiff/Petitioner,

             V.                                                CIVIL ACTION
                                                               FILE NO.
             CLAYTON COUNTY,GEORGIA;
             CLAYTON COUNTY BOARD OF
             COMMISSIONERS; JEFFREY E. TURNER,
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             and DEMONT DAVIS, in their individual and
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             ZONING ADVISORY GROUP; and
             HERMAN TURNER,ADDIE WHITTAKER,
             KEVIN LEWIS, KEITH PARKER, ARNOLD
             GOODSON,HERSHEL TRAWICK,and
             CARLTON HOLLOWAY,in their individual
             and official capacities,

                    Defendants,

             and


             CLAYTON COUNTY,GEORGIA;
             CLAYTON COUNTY BOARD OF
             COMMISSIONERS; JEFFREY E. TURNER,
             SONNA SINGLETON GREGORY,
             GAIL HAMBRICK,FELICIA FRANKLIN,
             and DEMONT DAVIS, in their individual and
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             KEVIN LEWIS, KEITH PARKER,ARNOLD
             GOODSON,HERSHEL TRAWICK,and
             CARLTON HOLLOWAY,in their individual
             and official capacities.

                    Respondents.




                                                                                         EXHIBIT
                                            {Doc: 02637078.DOCX}!



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             COUNTY OF CLAYTON
             STATE OF GEORGIA


                                     CERTIFICATE OF PAYMENT OF COSTS


                    I, Patrick Ejlke, Director of the Clayton County Community Development Department,

             hereby certify that no fees or costs were incurred or accrued in connection with Application

             Number LS-2008-0014,that have not already been paid, and no costs are now due. This certificate

             is intended to satisfy the requirements of O.C.G.A. § 5-4-5.

                    This        day ofJanuary, 2021.

                                                                            'Lu-
                                                                 Patrick Eijke, Director
                                                                 Clayton County Community Development
                                                                 Department




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                                                                             Jacquline D. Wills
                                                                             CLERK SUPERIOR COURT

                                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                             STATE OF GEORGIA


             SUNRISE BUILDERS,INC.

                    Plaintiff/Petitioner,

                                                               CIVIL ACTION
                                                                        2021CV00165-10
                                                               FILE NO.
             CLAYTON COUNTY,GEORGIA;
             CLAYTON COUNTY BOARD OF
             COMMISSIONERS; JEFFREY E. TURNER,
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             GAIL HAMBRICK,FELICIA FRANKLIN,
             and DEMONT DAVIS,in their individual and
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            ZONING ADVISORY GROUP;and
            HERMAN TURNER,ADDIE WHITTAKER,
            KEVIN LEWIS, KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOW AY,in their individual
             and official capacities.

                    Defendants,

             and


             CLAYTON COUNTY,GEORGIA;
             CLAYTON COUNTY BOARD OF
             COMMISSIONERS; JEFFREY E. TURNER,
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            KEVIN LEWIS,KEITH PARKER, ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
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                    Respondents.




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                                    NOTICE OF FILING CERTIORARI BOND


                   COMES NOW, Petitioner and Plaintiff Sunrise Builders, Inc., and hereby files with the

            Court the following documents: Certiorari Bond, attached hereto.

                Respectfully submitted this' ^ day of January 2021.



                                                               Andrew J.(Andy) Welch, III
                                                               Georgia Bar No. 746801
                                                               Warren M. Tillery
                                                               Georgia Bar No. 763972
                                                               M. Chase Collum
                                                               Georgia Bar No. 991516
                                                               Attorneys for Plaintiff and Petitioner
            SMITH, WELCH, WEBB & WHITE,LLC.
            2200 Keys Ferry Court
            P.O. Box 10
            McDonough, Georgia 30253
            Telephone:(770)957-3937
            Facsimile:(770)957-9165
            E-mail: awelch@smithwelchlaw.com
            E-mail: wtillery@smithwelchlaw.com
            E-mail: ccollum@smithwelchIaw.com




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                                              2021CV00165-10




                                      IN T1IR SUPERIOR COURT OF CLAYTON COUN l Y
                                                  S'l'ATE OF GEORGIA


                 SUNRISF: BljlLDRRS. INC..


                          iainliriypetitioner.


                                                                   CIVIL ACTION
                                                                   FILE NO. 2021CV00165-10
                 CLAY I ON COUNTY. GEORGIA;
                 CLAYTON COUN TY BOARD OF
                 COMMISSIONERS; JEFFREY E. TURNER,
                 SONNA SINGLETON GREGORY,
                 GAIL IIAMBRICK. FELICIA FRANKLIN,
                 and DEMONT DAVIS, in their individual and
                 olTicial capacities: CLAYTON COUNTY
                 ZONING ADVISORY GROUP; and
                 HERMAN TURNER. ADDIE WHITTAKER,
                 KEVIN 1J:WIS. KEITH PARKER. ARNOLD
                 GOODSON. HERSHEL TRAWICK,and
                 CARLTON HOLLOWAY,in their individual
                 and official capacities.

                         Defendants.


                 and


                 CLAY fON COUNTY,GEORGIA;
                 CLAYTON COUNTY BOARD OF
                (X)MMISSIONERS; JEFFREY E. TURNER,
                 SONNA SINGLETON GREGORY.
                 (,AIL HAMBRICK.FELICIA FRANKLIN,
                 and DEMONT DAVIS,in their individual and
                 official capacities; CLAYTON COUNTY
                 ZONING ADVISORY GROUP; and
                 HERMAN rURNER, ADDIE WHITTAKER,
                 KEVIN LEWIS, KEITH PARKER, ARNOLD
                 GOODSON. HERSHEL TRAWICK. and
                 CARLTON HOLLOWAY.in their individual
                 and official capacities.

                         Respondents.




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                                                        CERTIQRARI BOND

                        KNOW Ai.L PERSONS AND PARTIES BY THESE PRESEN I S thai Sunrise Builders.

                Inc.. as prineipal, and SMH H, WELCH, WEBB & WHITE. LLC., as surely, are held and bound

                to pay the adverse party in this case the sums sought as an award to be recovered thereby (if any),

                together with all future costs in this case. 1 he condition of this obligation is such that said principal
                is Plaintilf and Petitioner in tiling a Petition for Writ qfCertiorari. Appeal and Verified Complaint

                in the Superior Court of Clayton County, Cieorgia. as styled and captioned above, resulting from

                the decision of the Clayton County Planning and Zoning Board in Application Number LS-2008-

               0014. from which the principal is dissatisfied. Now. therefore, should said principal promptly pay

                all and any way or future costs in said matter as may be required by law. then this Certiorari Bond

               .shall be void and of no further force or effect as to the surety: otherwise, in full force and effect.

                        Witness the hand and sea of each party this /yL- day of January. 2021.

                SUNRISE BUILDERS,INC.                                   SMITH, WELCH, WEBB & WHITE. LLC.




                BY: Mahmoud Amercani                                      idrewJ. "Afi^y'" Welch. Ill
               TITLE: CEO                                               Title: Ma^i^er




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                                                                             Jacquline D. Wills
                                                                             CLERK SUPERIOR COURT

                                IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                            STATE OF GEORGIA


            SUNRISE BUILDERS,INC.,

                   Plaintiff/Petitioner,

                                                              CIVIL ACTION
                                                                          2021CV00165-10
                                                              FILE NO.
            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS, KEITH PARKER, ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                   Defendants,

            and


            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS;JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP; and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS, KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities,

                    Respondents.




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                                              2021CV00165-10




                   NOTICE OF FILING UNEXECUTED ORDER SANCTIONING THE WRIT OF
                          CERTIORARI AND UNEXECUTED WRIT OF CERTIORARI


                    COMES NOW,Petitioner and Plaintiff Sunrise Builders, Inc., and hereby files with the

            Court the following documents:

             (1)           Unexecuted Order Sanctioning the Writ of Certiorari (applied for to the presiding

                          judge on January 13, 2021);

             (2)           Unexecuted Writ of Certiorari (to be entered upon execution of the Order

                           Sanctioning the Writ of Certiorari by the presiding judge).

                Respectfully submitted this     day of January 2021.




                                                                Andrew J.(Andy) Welch, III
                                                                Georgia Bar No. 746801
                                                                Warren M. Tillery
                                                                Georgia Bar No. 763972
                                                                M. Chase Collum
                                                                Georgia Bar No. 991516
                                                                Attomeys for Plaintiff and Petitioner
            SMITH, WELCH, WEBB & WHITE, LLC.
            2200 Keys Ferry Court
            P.O. Box 10
            McDonough, Georgia 30253
            Telephone:(770)957-3937
            Facsimile:(770)957-9165
            E-mail: awelch@smithwelchlaw.com
            E-mail: wtillery@smithwelchlaw.com
            E-mail: ccollum@smithwelchlaw.com




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                                              2021CV00165-10




                                IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                            STATE OF GEORGIA


            SUNRISE BUILDERS,INC.,

                   Plaintiff/Petitioner,

            V.                                                   CIVIL ACTION
                                                                 FILE NO.   2021CV00165-10
            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP; and
            HERMAN TURNER,ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER, ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                   Defendants,

            and


            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
            HERMAN TURNER,ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                    Respondents.

                                   ORDER SANCTIONING WRIT OF CERTIORARI




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                    The Petition for Writ of Certiorari in this action (the "Petition") having been presented

            with evidence that no fees or costs have been incurred or accrued that are outstanding or due, and

            that sufficient bond and security has been provided pursuant to O.C.G.A. § 5-4-5,

                   IT IS HEREBY ORDERED, ADJUDGED and DECREED that the Petition is hereby

            SANCTIONED,and the Clerk of Superior Court of Clayton County shall issue a Writ ofCertiorari

            to Respondents, Clayton County Georgia; Clayton County Board of Commissioners; and Jeffrey

            E. Turner, Sonna Singleton Gregory, Gail Hambrick, Felicia Franklin, Demont Davis, Clayton

            County Zoning Advisory Group; and Herman Turner, Addie Whittaker, Kevin Lewis, Keith

            Parker, Arnold Goodson, Hershel Trawick and Carlton Holloway in their individual and official

            capacities, as provided by law.

                   SO ORDERED,this              day of January, 2021.



                                                         The Hon. Robert L. Mack
                                                         Judge, Superior Court of Clayton County
            Prepared and Presented hy/,


            Andrew J.(Andy) Welch, Ilj
            Georgia Bar No. 746801
            Warren M. Tillery
            Georgia Bar No. 763972
            M. Chase Collum
            Georgia Bar No. 991516

            SMITH, WELCH, WEBB & WHITE,LLC.
            2200 Keys Ferry Court
            P.O. Box 10
            McDonough, Georgia 30253
            Telephone:(770) 957-3937
            Facsimile:(770)957-9165
            awelch@smithwelchlaw.com
            wtillery@smithwelchlaw.com
            ccollum@smithwelchlaw.com
            Attorneys for Plaintiffs and Petitioners


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                                IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                            STATE OF GEORGIA


            SUNRISE BUILDERS,INC.

                   Plaintiff/Petitioner,

                                                              CIVIL ACTION
                                                                         2021CV00165-10
                                                              FILE NO.
            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP; and
            HERMAN TURNER, ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                    Defendants,

            and


            CLAYTON COUNTY,GEORGIA;
            CLAYTON COUNTY BOARD OF
            COMMISSIONERS; JEFFREY E. TURNER,
            SONNA SINGLETON GREGORY,
            GAIL HAMBRICK,FELICIA FRANKLIN,
            and DEMONT DAVIS,in their individual and
            official capacities; CLAYTON COUNTY
            ZONING ADVISORY GROUP;and
            HERMAN TURNER,ADDIE WHITTAKER,
            KEVIN LEWIS,KEITH PARKER,ARNOLD
            GOODSON,HERSHEL TRAWICK,and
            CARLTON HOLLOWAY,in their individual
            and official capacities.

                    Respondents.




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                                               WRIT OF CERTIORARI


                   TO:     THE ABOVE-REFERENCED RESPONDENTS,
                           Clayton County, Georgia; Clayton County Board of Commissioners; Jeffrey E.
                           Turner, Sonna Singleton Gregory, Gail Hambrick, Felicia Franklin, and Demont
                           Davis, in their individual and official capacities; Clayton County Zoning Advisory
                           Group; and Herman Turner, Addie Whittaker, Kevin Lewis, Keith Parker, Arnold
                           Goodson, Hershel Trawick, and Carlton Holloway, in their individual and official
                           capacities.

                   The Petition for Writ of Certiorari in this action (the "Petition") having been presented,

            together with proof of payment for any costs and the posting of a sufficient bond, and the Superior

            Court of Clayton County, Georgia, having sanctioned the Petition and directed the undersigned

            Clerk ofthe Superior Court of Clayton County, Georgia,to issue a writ of certiorari directed to the

            above-referenced Respondents,

                   The Clerk of the Superior Court of Clayton County, Georgia, accordingly DIRECTS that

            the above-referenced Respondents, including Clayton County, Georgia; Clayton County Board of

            Commissioners; Jeffrey E. Turner, Sonna Singleton Gregory, Gail Hambrick, Felicia Franklin, and

            DeMont Davis,in their individual and official capacities; Clayton County Zoning Advisory Group;

            and Herman Turner, Addie Whittaker, Kevin Lewis, Keith Parker, Arnold Goodson, Hershel

            Trawick, and Carlton Holloway, in their individual and official capacities, certify and send up to

            this Court all documents and proceedings related to Clayton County Preliminary Plat Application

            LS-2008-0014 within thirty (30) days after the date of service ofthis Writ ofCertiorari.

                   This the15thh day of January, 2021.

                                                               /s/ Anemkio Samuel
                                                         Jacquline D. Willis
                                                         Clerk, Superior Court of Clayton County, Georgia




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                                              2021CV00165-10




             Prepared and Presented by:




             Andrew J.(Andy) Welch, III
             Georgia Bar No. 746801
             Warren M. Tillery
             Georgia Bar No. 763972
             M. Chase Collum
             Georgia Bar No. 991516

             SMITH, WELCH, WEBB & WHITE,LLC.
             2200 Keys Ferry Court
             P.O.Box 10
             McDonough, Georgia 30253
             Telephone:(770)957-3937
             Facsimile:(770)957-9165
             awelch@smithwelchlaw.com
             wtillery@smithwelchlaw.com
             ccollum@smithwelchlaw.com
             Attorneys for Plaintiff and Petitioner




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